Case 5:17-cV-00229 Document1-3 Filed in TXSD on 10/27/17 Page 1 of 68

Filed

8!31.'2017 4:14 PM
Esther Dego||ado
District C|erl<
Webb District
L'inda Torres

CallS€ NO. 2017CVHDO2094D1
Moises Gonzalez § In the District Court
§
§
Plai.'mjf§ §
§
§
vs. § Webb County, 'I`e'xas
§
Sentinel Insurance Company, Ltd and §
John Doe §
§
§
D¢jfendants. § J udicial District

 

PLAINTIFF’S ORIGINAL PETITION, JURY DEMAND, AND REQUEST FOR
DISCLOSURE

 

TO THE HONORABLE .]UDGE OF SAID COURT:

COMES NOW, Moises Gonzalez (“Plaintifi”), and files this Plaintiff’s ()riginal Petition
complaining of Sentinel Insurance Con'\pany, Ltd and John Doe (or collectively, “Defendants”),
and for cause of action, Plaintiff would respectfully show the following

A. DISCOVERY CONTROL PLAN

l. Plaintifl` intends to conduct discovery under Level l ef Texas Rules of Civil
Procedure 1902 and 169.

B. PARTIES

2. Plaintiff, l\/loises Gonzalez, is an individual residing in Webb County, Texas at
57`14 Cerrito Prieto Ct Laredo, TX 78041.

3. Defelidaiit, Sentinel Insurance Ceinpany, Ltd, is an insurance company doing
business in Texas and may be served as follows: CT Corporation System, 1999 Bryan Street, Ste

90(), Dallas_, TX 752()1.

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4. Defendant, John Doe is a ficticous name of the adjuster working in the course and

scope of employment with Sentinel Insurance Company, Ltd.
C. .]URISDICTION

5. The Court hasjurisdiction over Sentinel lnsurance Company, Ltd because Sentinel
Insurance Company, Ltd engages in the business of insurance in the State ofTeXas, and the causes
of action arise out of its business activities in the State of Texas, including those in Webb County,
Texas_, with reference to this specific case.

6. The Court has jurisdiction over John Doe because John Doe is a resident of the
State of Texas who engages in the business of adjusting insurance claims in the State of` Texas,
and the causes of action arise out of John Doe’s business activities in the State of Texas, with
reference to this specific case.

D. VENUE

7. Venue is proper in Webb County, Texas, because the insured property is situated

in Webb County, Texas. Tex. Civ. Prac. & Rem. Code § 15.032.
E. CONDITIONS PRECEDENT

8. All conditions precedent to recovery have been performed, waived, or have

occurred.
F. AGENCY AND RESPONDEATSUPERIOR

9. Whenever in this petition it is alleged that Sentinel Insurance Company, Ltd did
any actor omission, it is meant that Sentinel Insurance Company, Ltd itself or its agents, officers,
servants, employees, or representatives did such act or omission, and it was done with the full
authorization or ratification of Sentinel Insurance Company, Ltd or done in the normal routine,

course, and scope of the agency or employment of Sentinel insurance Company, Ltd or its agents,

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officers, servants, employees, or representatives
G. FACTS

l(). Plaintiff is a named insured under a property insurance policyMS-SBA-TBO412-
DX (the “Policy”)iissued by Sentinel lnsurance Company, Ltd. The Policy insures, among other
things, against losses from storm damage to Plaintiff" s property, namely, the real property and
improvements located at 5714 Cerrito Prieto Ct Laredo, TX 78041 (the “Property").

l l. On or about 5/21/2017, during the policy period, a storm caused damage to the
Property that was covered the Policy. The storm caused extensive damage to the Property including
but not limited to damage to the roof, ceilings, and fence.

12. Shortly after the storm, Plaintiff noticed damage to the Property. Plaintiff contacted
Sentinel lnsurance Company, Ltd to notify Sentinel lnsurance Company, Ltd of the damage.

13. Plaintiff submitted a claim, CPOOl749i528, to Sentinel lnsurance Company, Ltd
against the Policy for all roof damage water damage, and wind damage the Property sustained as
a result ofthe storm.

14. Plaintiff asked that Sentinel lnsurance Company, Ltd honor its contractual
obligations to cover the cost of repairs to the Property.

15. Sentinel lnsurance Company, Ltd assigned John Doe to adjust the claim.
Defendants, Sentinel lnsurance Company, Ltd and John Doe, conducted a substandard
investigation of Plaintiff’s claimq failed to thoroughly investigate Plaintiff"s losses, and spent an
inadequate amount of time on the investigation John Doe failed to fully inspect all damage to the
Property.

16. Despite obvious, visible storm damage, John Doe, on his/her own behalf and on

behalfof Sentinel lnsurance Company, Ltd, verbally misrepresented to Plaintiff at the time of the

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inspection and thereafter that the Property had minimal storm-related damage. John Doe repeated
this misrepresentation, again on his/her own behalf and on behalf of Sentinel lnsurance Company,
l,td, in a letter to Plaintiff dated .

17. Together, Defendants Sentinel lnsurance Company, Ltd and John Doe set out to
deny properly-covered damages by performing a results-oriented investigation of Plaintiff’s claim__
which resulted in a biased, unfair1 and inequitable evaluation of Plaintiff‘ s losses on the Property.

18. Defendant Sentinel lnsurance Company, Ltd failed to perform its contractual
obligation to adequately compensate Plaintiff under the terms of the Policy. All conditions
precedent to recovery under the Policy have been performed by Plaintiff. Sentinel lnsurance
Company, Ltd’s conduct constitutes a breach of the insurance contract between Sentinel lnsurance
Company, Ltd and Plaintiff.

l9. Even though the Property sustained obvious damage caused by a covered
occurrenee, Defendants misrepresented the scope of damage to the Property and misrepresented
the scope of coverage under the Policy. Defendants’ conduct is a violation of the Texas lnsurance
Code, Unfair Settlement Practices. TEX. lNS. CODE § 541.060(a)(l).

20. Defenclants failed to make an attempt to settle Plaintiff s claim in a fair manner,
although they were aware of their liability to Plaintift` under the Policy. Defendants’ conduct is a
violation of the Texas lnsurance Code, Unfair Settlement Practices. TEX. lNS. CODE §
541.060(a)(2)(A).

2]. Defendants refused to adequately compensate Plaintiff under the terms of the
Policy, and they failed to conduct a reasonable investigation of the claim. This conduct is a
violation of the Texas lnsurance Code_1 Unfair Settlement Practices. TEX. lNS. CODE §

541.060(3)(7).

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22, Defendants failed to offer Plaintiff a reasonable explanation for why Plaintiff’s
claim was denied. This conduct is a violation of the Texas lnsurance Code, Unfair Settlement
Practices. TEX. lNS. CODE § 54!.060(a)(3).

23. Defendant, Sentinel lnsurance Company, Ltd, failed to timely acknowledge
Plaintiff`s claim, begin an investigation of the claim, and request all information reasonably
necessary to investigate Plaintiff’s claim within the statutorily mandated time of receiving notice
of the claim. This conduct is a violation of the Texas lnsurance Code, Prompt Payment of Claims.
TEX. INS. CODE § 542.055.

24. Defendant, Sentinel lnsurance Company, Ltd, failed to accept or deny Plaintiff’s
full and entire claim within the statutorily mandated time of receiving all the necessary
informationl This conduct is a violation of the Texas lnsurance Code, Prompt Payment of Claims.
TEX. INS. CODE §542.056.

25. Defendant, Sentinel lnsurance Company, Ltd, delayed full payment of Plaintiffs
claim longer than allowed, and, to date, Plaintiff has not received full payment for Plaintiff’ s claim.
This conduct is a violation of the 'l`exas lnsurance Code, Prompt Payment of Claims. TEX. INS.
CODE § 542.058.

26. Since the time Plaintiffs claim was presented to Defendant Sentinel lnsurance
Company, Ltd, the liability of Sentinel lnsurance Company, Ltd to pay the full claim in accordance
with the terms of the Policy has been reasonably clear. Nevertheless, Sentinel lnsurance Company,
Ltd has refused to pay, despite there being no basis on which a reasonable insurance company
would have relied to deny the claim. This conduct is a violation of Sentinel lnsurance Company,
Ltd’s duty of good faith and fair dealing

27. Defendants knowingly or recklessly made false representations, as described

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above, as to material facts. Alternatively, Defendants knowingly concealed all or part of material
information from Plaintiff

28. To date, Plaintiff has yet to receive full payment for the damages to which Plaintiff
is entitled under the Policy. Plaintiff has suffered damages as a result of Defendants’ actions
described above. The mishandling of Plaintiff’s claim also caused a delay in Plaintiff’s ability to
fully repair the Property, resulting in additional damages

H. CAUSES OF ACTION
I. BREACH ()F CONTRACT (against Sentinel insurance Company, Ltd)

29. Defendant Sentinel lnsurance Company, Ltd had a contract of insurance with
Plaintiff Plaintiff met or performed all conditions precedent under the contract. Sentinel lnsurance
Company, Ltd breached the terms of that contract by wrongfully denying and/or underpaying the
claim, and Plaintiff was damaged thereby.

30. Defendant Sentinel lnsurance Company, Ltd is therefore liable to Plaintiff for
breach of contract.

II. PROMPT PAYMENT OF CLAIMS STATUTE (against Sentinel lnsurance Company,
Ltd)

31. Plaintiff‘s claim is a claim under an insurance policy with Defendant Sentinel
lnsurance Company, Ltd, of which Plaintiff gave Sentinel lnsurance Company, Ltd proper notice.
Sentinel lnsurance Company, Ltd is liable for the claim.

32. Defendant Sentinel lnsurance Company, Ltd violated the prompt payment of claims
provisions of the Texas lnsurance Code, namely, section 542.05l et seq., by:

33. Failing to acknowledge or investigate the claim or to request from Plaintiff all
items, statementsJ and forms Sentinel lnsurance Company, Ltd reasonably believed to be required

within the time constraints provided by Tex. lns. Code § 542.055; failing to notify Plaintiff in

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writing of its acceptance or rejection of the claim within the applicable time constraints provided
by Tex. lns. Code § 542.056; and/or delaying payment of the claim following Sentinel lnsurance
Company, Ltd`s receipt of all items, statements, and forms reasonably requested and required,
longer than the amount of time provided by Tex. lns. Code § 542.058.

34. Defendant Sentinel lnsurance Company, Ltd is therefore liable to Plaintiff for
damagesl in addition to Plaintiff’s claim for damages, Plaintiff is further entitled to 18% interest
and attorney’s fees as set forth in section 542.060 of the Texas insurance Code.

lII. UNFAIR SETTLEMENT PRACTICES{BAD FAITH (against all Defendants)

35. Each of the foregoing paragraphs is incorporated by reference here fully.

36. As explained further herein, Defendants violated Tex. lns. Code § 541.060(a) by
engaging in unfair settlement practices.

DEFEN])ANT Sentinel insurance Company, Ltd

37. Defendant Sentinel lnsurance Company, Ltd engaged in unfair settlement practices
by misrepresenting to Plaintiff a material fact or policy provision relating to the coverage at issue;
failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of a claim
after Sentinel lnsurance Company, Ltd’s liability became reasonably clear; failing to promptly
provide Plaintiff with a reasonable explanation of the basis in the Policy in relation to the facts or
applicable law for Sentinel insurance Company, Ltd’s denial ofa claim or offer ofa compromise
settlement of a claim; failing within a reasonable time to affirm or deny coverage of a claim to
Plaintiff or submit a reservation of rights to Plaintiff; and refusing to pay the claim without
conducting a reasonable investigation with respect to the claim.

38. Each of the aforementioned unfair settlement practices was committed knowingly

by Defendant Sentinel insurance Company, Ltd and was a producing cause ofPlaintiff’s damages

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Sentinel insurance Company, Ltd is therefore liable to Plaintiff for engaging in such unfair

settlement practices and causing Plaintiff damagesl

DEFENDANT John Doe

39. Defendant John Doe was a contractor and/or adjuster assigned by John Doe to assist
with adjusting the claim. John Doe was charged with investigating the claim and communicated
with the insured about the Policy terms lnsurance adjusters are “persons engaged in the business
ofinsurance” under Tex. ins. Code 54l.0()l, et seq., and are individually liable for their individual
violations of the Texas lnsurance Code. See Li`berty Mu£. lns. Co. v. Garri`son Corifracrors, Inc.,
966 S.W.Zd 482, 486 (Tex. l998).

40. John Doe was tasked with the responsibility of conducting a thorough and
reasonable investigation of Plaintiff s claim, including the discovery of covered damages and fully
quantifying covered damages to Plaintiff`s Property.

41. John Doe conducted a substandard, results-oriented inspection of the Property.

42. As such, John Doe failed to discover covered damages and/or fully quantify
covered damages to Plaintiff’s Property, as the Policy and Texas law require.

43. Further, John Doe misrepresented material facts to Plaintiff, that is, the existence
and true value of Plaintiff’s covered losses. Additionally, John Doe failed to provide Plaintiff with
a reasonable explanation as to why John Doe did not compensate Plaintiff for the covered losses,
or the true value thereof.

44. Thus, John Doe engaged in unfair settlement practices by: misrepresenting to
Plaintiff a material fact or policy provision relating to the coverage at issue; failing to attempt in
good faith to effectuate a prompt, fair, and equitable settlement of a claim after Sentinel insurance

Company, Ltd’s liability became reasonably clear_; failing to promptly provide Plaintiff with a

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reasonable explanation of the basis in the Policy in relation to the facts or applicable law for its
adjuster’s denial of the claim or offer ofa compromise settlement of the claim; and/or failing to
conduct a reasonable investigation of Plaintiff s claim. Each of the aforementioned unfair
settlement practices was committed knowingly by John Doe and was a producing cause of
Plaintiffs damages. John Doe is therefore liable to Plaintiff for engaging in such unfair settlement
practices and causing Plaintiffdamages.

IV. DTPA VIOLATIONS (against all Defendants)

45. Each of the foregoing paragraphs is incorporated by reference here fully.

46. At all material times herein, Plaintiff was a “consumer” who purchased insurance
products and services from Defendants, and the products and services form the basis of this action.

47. Defendants have violated the Texas Deceptive Trade Practices Consumer
Protection Act (“DTPA”) in at least the following respects:

48. Defendants represented that the Policy confers or involves rights, remedies, or
obligations which it does not have, or involve, or which are prohibited by law; Defendants
represented goods, products, or services had sponsorship, approval, characteristics, uses, benefits,
or quantities they do not have; Defendants failed to disclose information concerning goods or
services which was known at the time of the transaction when such failure to disclose such
information was intended to induce Plaintiff into a transaction Plaintiff would not have entered
into had the information been disclosed; Defendants, by accepting insurance premiums but refusing
without a reasonable basis to pay benefits due and owing engaged in an unconscionable action or
course of action as prohibited by the DTPA § l?.§()(a)(l )(3) in that Defendants took advantage of
Plaintiffs lack of knowledge, ability, experience, and capacity to a grossly unfair degree that also

resulted in a gross disparity between the consideration paid in the transaction and the value

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received, in violation ofChapter 541 ofthe lnsurance Code; generally engaging in unconscionable
courses of action while handling Plaintiffs claim; and/or violating the provisions of the Texas
lnsurance Code, as further described elsewhere herein.

49. As a result of Defendants’ violations of the DTPA, Plaintiff suffered actual
damages, and such violations were a producing, actual, and proximate cause of Plaintiffs
damages 'l`herefore, Defendants are liable to Plaintiff for violations of the DTPA.

50. Further, Defendants knowingly and/or intentional ly committed the acts complained
of herein. As such, Plaintiff is entitled to exemplary and/or treble damages pursuant to the DTPA
and Texas lnsurance Code § 541 .lSZ(a)-(b).

V. BREACH OF DUTY OF GOOD FAITH AND FAIR DEALlNG (against Sentinel
lnsurance Company, Ltd)

51. Defendant Sentinel insurance Company, Ltd breached the common law duty of
good faith and fair dealing owed to Plaintiff by denying or delaying payment on the claim when
Sentinel lnsurance Company, Ltd knew or should have known liability was reasonably clear.
Sentinel lnsurance Company, Ltd’s conduct proximately caused Plaintiff’s damages

52. Defendant Sentinel lnsurance Company, Ltd is therefore liable to Plaintiff

VI. ATTORNEY’S FEES

53. Plaintiff engaged the undersigned attorney to prosecute this lawsuit against
Defendants and agreed to pay reasonable attorney’s fees and expenses through trial and any appeal.

54. Plaintiff is entitled to recover reasonable and necessary attorney’s fees pursuant to
Tex. Civ. Prac. & Rem. Code §§ 38.001~38.003 because Plaintiff is represented by an attorney,
presented the claim to Defendants1 and Defendants did not tender thejust amount owed before the
expiration of the 30th day after the claim was presented

55. Plaintiff is additionally or alternatively entitled to recover reasonable and necessary

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attorney’s fees pursuant to Tex. Bus. & Com. Code § 17.50(d).

56. Plaintiff is additionally or alternatively entitled to recover reasonable and necessary

attorney’s fees pursuant to sections 541 .152 and 542.060 of the Texas insurance Code.
I. KNOWLEDGE

57. Each of the acts described above, together and singularly, was done “knowingly,”
as that term is used in the Texas insurance Code, and was a producing cause of Plaintiff"s damages
described herein.

.]. DAMAGES

58. Plaintiff would show that all of the aforementioned acts, taken together or
singularly, constitute the producing causes of the damages sustained by Plaintiff.

59. Due to the mishandling of Plaintiffs claim by Defendants, the damages caused by
the 5/21/2017 storm have not been fully addressed or repaired in the months since the storm,
causing further damages to the Property, and causing undue hardship and burden to Plaintiff
These damages are a direct result of Defendants’ mishandling of Plaintiff's claim in violation of
the laws set forth above.

60. For breach of contract, Plaintiff is entitled to regain the benefit of the bargain, which
is the amount of the claim, together with attorney’s fees

61. For noncompliance with the Texas insurance Code, Unfair Settlement Practices,
Plaintiff is entitled to actual damages, which include the loss of the benefits that should have been
paid pursuant to the Policy, mental anguish, court costs, and attorney’s fees For knowing conduct
of the acts described above, Plaintiff asks for three times the actual damages TEX. lNS. CODE §
541 .l 52.

62. For noncompliance with the Texas insurance Code, Prompt Payment of Claims,

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Plaintiffis entitled to the amount of the claim, as well as eighteen (18) percent interest per annum
on the amount of such claim as damages together with attorney’s fees TEX. INS. CODE §
542.060.

63. For breach of the common law duty of good faith and fair dealing, Plaintiff is
entitled to compensatory damages including all forms of loss resulting from the insurer’s breach
of duty, such as additional costs, economic hardship, losses due to nonpayment of the amount the
insurer owed, exemplary damages and damages for emotional distress

64. For fraud, Plaintiff is entitled to recover actual damages, as well as exemplary
damages for knowingly fraudulent and malicious representations along with attorney’s fees,
interest, and court costs

65. For the prosecution and collection of this claim, Plaintiff was compelled to engage
the services of the attorney whose name is subscribed to this pleading Therefore, Plaintiff is
entitled to recover a sum for the reasonable and necessary services of Plaintiff’s attorney in the
preparation and trial of this action.

K. STATEMENT OF RELIEF AND DAMAGES

66. As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiff`s counsel
states that the damages sought are in an amount within the jurisdictional limits of this Court. As
required by Rule 47(c), Texas Rules of Civil Procedure, Plaintiff"s counsel states that Plaintiff is
seeking monetary relief of less than $100,000, including damages of any kind, penalties, costs,
expenses, prejudgment interest, and attorney’s fees A jury, however, will ultimately determine
the amount of monetary relief actually awarded. Plaintiff also seeks pre-judgment and post-
judgment interest at the highest legal rate.

L. RESERVATION OF RIGHTS

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67. Plaintiff reserves the right to prove the amount of damages at trial. Plaintiff
reserves the right to amend this petition to add additional counts upon further discovery and as the
investigation continues

l\/I. JURY DEMAND

68. Plaintiffhereby request that all causes ofaction alleged herein be tried before ajury
consisting of citizens residing in Webb County, Texas. Plaintiff hereby tenders the appropriate
jury fee.

N. REQUEST FOR DISCLOSURE

69. Under Texas Rules of Civil Procedure 190 and 194, Plaintiff requests that
Defendants disclose, within fifty (50) days from the date this request is served, the information or
material described in Rules 194.2.

O. STIPULATED DAMAGES

70. Plaintiff, l\/loises Gonzalez, through its undersigned counsel, stipulates to the
following amount of damages and submits this stipulation to the Court for approval.

71. Plaintiff hereby stipulates that Plaintiff will not accept ajudgment that exceeds the
sum or value of $75,000, exclusive of interest and costs, nor will Plaintiff amend this petition
before or after the one-year removal deadline to seek in excess of $75,000, exclusive of interest
and costs, as those terms are used in 28 U.S.C. § l332(a)_

PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof, said
Plaintiff has and recover such sum as would reasonably and justly compensate Plaintiff in
accordance with the rules of law and procedure, as to actual damages, trebled, under the Texas

insurance Code and Texas Deceptive Trade Practices Consumer Protection Act, and all punitive

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and exemplary damages as may be found. ln addition, Plaintiff requests the award of attorney’s

fees for the trial and any appeal of this case, for all court costs on Plaintiff’s behalf expended, for

pre-judgment and post-judgment interest as allowed by law, and for any other and further relief,

either at law or in equity, to which Plaintiff is justly entitled.

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Respectfully submitted,

ZAR LAW F]RM

/s/Mritthew M. Zarghouni
l\/latthew Zarghouni

State Bar No. 24086085

7322 Southwest Fwy, Suite 1965
Houston, Texas 77074

Office: (713) 333-5533

Fax: (832) 448-9149
Matt@zar-law.com

ATTORNEY FOR PLAINT[FF

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State Dist.rict Court Jose A, Lopez
49TH J udicial District of Texas State District Judge

Counties of Webb and Zapata

 

September 07, 2017
NOTICE OF CALENDAR CALL

CAUSE NO. 2017CVH002094D1

MOISES GONZALEZ
VS
SENTINEL INSURANCE COMPANY LTD: jOHN DOE

Please take notice that this case is set for Calendar Cali on 11/07/2017 at 1:30 PM at the 49{"
District Court, 3rd Floor, Webb County justice Center_

All Calendar Call hearings will be m open Court and on the record before the Honorable judge
jose A. Lopez. Your presence is MANI)ATORY unless Counsel for Plaintiff(s) and Defendant(s)
have in place a pre- -trial guideline order With both Counsel and judge' s signatures prior to calendar
call date. This guideline order should have all appropriate dates including
pre-U'ial, jury selection and all deadlines

Counsel for Plaintiff(si please note that if you do not appear for calendar call your case may
be dismissed for lack of prosecution

Counsel for Defendant(sl please note that if you do not appear for calendar call. a pre-trial
guideline order may be entered with or Without your approval and/ or signature

If there are any questions regarding this matter please feel free to call our office at any time.

Maria Rosario Ra.rnirez
Civil Court Coordinator
49‘*‘ District Court

 

Webb County ‘ P.O. Box 6655 ’ Laredo, Texas 7804-2 ' tel. 956.523.4237 ' fax 956.523.5051
Zapa.ta County ' P.O. Box 789 ' Zapata, Texas 78076 ' tel. 956.'765.9935 ' fax 956.765.9789

49th_districtcou.rt@webbcountytx. gov
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** Transmit Confirmation Report **

P.t Sep 6 2017 0410?am
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._ State District Court Jose A. Lopez
§ 49m JudiClB_l DiEil'i.Ci. 0[ TEJLBS State Digfrict Judge
Counties of Webb and Zapata

 

Septernber 07, 2017
NOTICE OF CAL'ENDAR CALL

CALISE NO. 2017€\’1-{0(}2094}31
MOiSES GONZALEZ
VS
SENTINEL fNSURANCE COMPANY LTD: iOHN DOE

Plea.se take notice that this case is set for Calendar Call on 11/0.7/2[,117 at 1;30 PM at the 49""
Disb'ict Court, 3"! Fioor, Webb County justice Center.

 

All Calenda.r Call hearings will hein open Court and on the record before the Honora.ble judge
jose A. Lopez. Your presence is M.ANDA'I`ORY unless Cou.nsel for Plaintiil`(s} and Defendant(s)
have in place a pre-trial guideline order with both Counsei and-judge's signatures prior to calendar
call date_ This guideline order should have all appropriate dates including
pre-trial, jury selection and all deadlines

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bg di§m;'ss§ fgr lack of prosecution

Counsei for Defendant _‘ le t ifvou do not a ear for calendar call a re- '
gg!'deline order may be entered with or without your approval and/or siggat'ur§.

if there are any questions regarding this matter please feel free to call our office at any time.

aaa /Z /-
Ma.ria Rosario Rarnirez
Civ'il Court Coordinator
49“‘ District Court

 

 

Webb County ' P.O. Box 5655 ‘ Laredo, Tr_xas TBMZ ' tcl. 956.523.4-237 ' fax 956.515.5051
Z.lpzta County ' PiO. Box ':'89 ' Zapatz, Texas 78076 ' Lc;l. 956.765.9935 ‘ fax 956\765.9789

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asruais
_ 2017CVH002094131
Cn"ATioN

THE STATE OF TEXAS
COUNTY OF WEBB

NOTICE TO THE DEFEN`DANT: "YOU HAVE BEEN SUED. YOU MAY EM`PLOY AN AT]`ORNEY. iii
YOU OR YOUR A'l"l`ORNEY DO NOT FILE A WR}'!`TEN ANSWER WITH TH`E CLERK WHO ISSUED
THES Cl"l`A"l"`]ON BY 1(}:00 A.M. (JN r|`HE MONDAY NEXT FGLLOWING THE EXPIRATEON OF
TWEN'I"{ DAYS AFTER YOU WERE SERVED THIS CiTAT`ION AND PETITIUN, A DEFAULT
jUDGl\/fENT MAY BE `i`AKEN AGA]`NST YOU."

TO: SENTINEL INSURANCE COMPANY, LTD. (C'l` CORPORATION SYSTEM)
1999 BRYAN STREET, STE 900
DA LLAS, TX 75201

DEF£NDANT, IN 'I`HE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE HEREBY
COMMANDED TO APPEAR BEFORE THE 49"‘ District Court of Webb County, Te)<as, to be heid at the
said courthouse of said countyr in the city of l.aredo, Webb County, Texas, by filing a written answer to
the Original Petition, jury Demand, and Request for Disfcl_osure of Plaintiff at or before 10100 O’CLOCK
A.M. of the Monday next after the expiration of ZU'cia_Vs after tile date of service thereof, a copy of which
accompanies this citation, in the Cause #: 2017€'\/`}`-10[]2094[31, sty§ed:

MOISES GONZAI.EZ, PLAINTIFF
VS.
SENTINEI. INSURAN CE COMPAN¥, LTD AND }Ol-IN DOE, [)EFENDANTS

Said i`“"iaintiff’s Origina| Petition, jury Demand, and Request for Disclosure was filed on 08/31/201'7 in said
court by:

MATTHEW ZARGHOUNI, ATTORNEY FO_R PLAINTIFF

7322 SOUTHWEST FWY, SUITE 1965

HOUSTON, ”i`X 77074

WITNESS ESTHER D`ECOLLADO, DlSTRiC'l` CLERK OF WEBB COUNTY, TEXAS, lssuecf and given

under my hand and seal of said court at office, on this the Sl" day of September, 2017.

C 'L E R K 0 F C O U R T ""\,““umn,r,,

 

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Caiendar call set for 11/07/17 at R£ go ‘ '
"*\

WFBB COUN"I`Y DIS“[`RIC’T CLE
1:30 pm in the 49*1' District Court P_O. BOX 667

LARF,DO, TX 78042

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Case 5:17-cV-00229 Document 1-3 Filed in TXSD on 10/27/17 Page 18 of 68

 

 

 

 

 

 

 

2017CVHO(}2094D1
OFF!CER'S RE'[`URN
Carnc to hand on the day of _______ 2017 at _ O'CLOC`K .M.
l`ixecutcd at , within the COUNTY of at
O'CL,OCK .M. on the clayr of , 20]7, by delivering to the Within named

SENTINEL lNSURANCE COMPANY, LTD, each, in pcrson, a true copy of this citation together with
the accompanying copy of the petition, having first attached such copy of such petition to such copy of
citation and endorsed on such copy of citation the date of delivery

The distance actuaily travelled by me in serving such process Was _ miles, and my fees are as
follows:

"l"otal Fee for serving this citation 33

'!`o certify Which, witness my hand officially

 

SHERIPF, CONSTABLE

COU NTY, TEXAS

BY

 

DEPU'I`Y

THE STA'E.`E OF TEXAS l
COUNTY OF WEBB }

Before me, the undersigned authority, on this day personally appeared ,
who after being duly sworn! upon oath said that a notice, of which the above is a true copy, was by
him/her deiivered to on the day of

 

)

SWORN 'l"C) AND SUBSCRI`BED BEFORE MF. on the dayr of . _ _______ _ , to certify
Which witness my hand and seal of oifice.

 

NOTARY PUBLlC
MY COMMISSION EXPIRES

 

 

 

 

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Case 5:17-cV-00229 Document1-3 Filed in TXSD on 10/27/17¢¢~|§?&9,€_1'|:9_91‘_£8.._…

 

 

 

 

;SERVE

2017CVH002894D1
ClTATlON

T}'IE STATE OF TEXAS
COUNTY OF WEBB

NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU M`AY EMPLOY AN ATT`ORNEY. [l`“`
YOU OR YOUR A"l`TORNEY DO NOT P§l_l;` A WRIT[`EN ANSWER Wl`Tf“l THE CLE.RK WHO ISSUED
THlS CZTATION BY lU:UU A.M. ON 'l`l“lE MONDAY :\IIIXT FOLLOWING THE EX.PERATION OF
'l'WENTY DAYS AFTER YOU WERE SERVED Tl‘liS CI'I`ATiON AND PE'Tl'I`ION, A DEFAUL'T
]UDGMENT MAY BE Tr'-\KEN AGA!NST YOU.“

TO: SENTINEL IN S`URANCE COMPANY, I_TD. {C'l` CORPORATI()N SYSTEM)
1999 BRYAN STREET, STE 909
DALI.AS, TX 75201

DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE HEREBY
COMMANDED TO APPEAR BEFORE THE 49“‘ District Court of Webb County, Texas, to be held at the
said courthouse of said county in the city of l_,aredo, Webb Coonty, 'Fexas, by filing a written answer to
the Original Petition, jury Dernand, and Reqoest for Disclosure of Plaintiff at or before 10:00 O'CLOCK
A.l“vi. of the Monday next after the expiration of 20 days after the date of service thereof, a copy of which
accompanies this citation, in the Cause ii: ZOIFC\II'ZUOZU€)#lDl, styled:

MOISES GONZAI_EZ, PLA!NTIFP
VS.
SENTINEL INSURANCE COMPANY, l.TD AND ]OHN DOE, DEFENDANTS

Said Plaintiff’s Original Petition, jury Dernand, and Rec[oest for Disclosure was fi§ed on 08/31{'2017 in Said
court by:

MATTHEW ZARGHOUN¥, ATTORNEY FOR I’LAINTIFF

7322 SOUTHW`EST FWY, SUITE 1965

HOUSTON, TX 77074
WITNESS ESTHER DEGOLLADO, DlSTRlC'i` CLERK O`F WEBB COUNTY, TEXAS, issued and given
under my hand and seal of said court at office on this the 811" day of Septernber, 2017.

CLERK OP COURT

 

 

   
 

Es"n¢ier-z o izooL.LADo _`_“_t.,_mrrrsr-,,!
-_-~_-_/----Caie“dar °i`-H m for 11 97/17 at Wsss cc)oi\rrr ois'rmci" CLE‘,Ri§l-: _§_Gt,»,e§"iz..
1:30 Dm in the 491*‘ DiStl'iCt COUI‘|: p'@` BQ§( 567 `c_`-`(.;;\ h"‘...‘_’:@:;’;,

LAREDO, 'r)< reo-12 ci"_.-" `

BY.`

   

Aria Hemandez f S‘¢-X§ L‘;£#c\._x\'~\

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Case 5:17-cV-00229 Document 1-3 Filed in TXSD on 10/27/17 Page 20 of 68

 

 

 

 

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2017CVH002094D1
CITA TI ON

THE STATE OF TEXAS
COUNT¥ OF WEBB

NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY. E`F
YOU OR ‘r'OUR A'T'l`ORNE`( 130 NOT FILE A V\"l“\’i"l"l`l§.r’\i ANBWER WI'I`H THE CLERK W`HO lSSUED
rl`l‘ll‘§i CITATION BY 10.'00 A‘M. ON THE MONDAY NEXT FOLLOWING THE EXPIRATEON OF

"I`WENTY DAYS AFTER YOU WERE SERVED Tl-l[S C.iTATlON AND PET!TION, A DEF'AULT
]UDGMENT MAY BE TAI<EN ACAINST YOU.”

ro; JOHN Doe

DEFENDANT, IN THE HERE!NAFTER STYLED AND NUMBERED CAUSE, YOU ARE HEREBY
COMMANDED 'FO APPEAR BEFORE THE 49“‘ District Court of Webb County, 'l"e><as, to be held at the
said courthouse of said county in the city of l,aredo, Webb County, "Fexas, by filing a written answer to
the Original Petition, }ury Dernand, and Request for Disciosure of Plaintiff at or before 10:00 O'CLOCK
A.M. of the Monday next after the expiration of 20 days after the date of service thereof, a Copy of Which
accompanies this citation, in the Cause #: 2017CVH002994D1, styled:

M()ISES GONZALEZ, .PLAINTIFF
VS.
SENTINEL INSURANCE COMPANY, LTI`) AND ]OHN DOE, D§FENDANTS

Said f’laintii.f’s Original Petition. jury Dernand, and limine l for Disciosure Was filed on 08,»'3'1/20'|7 in said
court by:

MATTHEW ZARGHOUNI, ATTORNEY `FOR PLAINTlEF
7322 SOU'¥`HWEST FWY, SUITE 1965
HOUSTON, TX 77074

WITNESS ESTHER D`EGOLLADO, DIS'I`RIC"[' CLERK Oli WEBB CGUNTY, TEXAS, issued and given
under my hand and Seal of said court at office, on this the S'Pi day of September, 2017.

CL-ERK OF COURT
FST`[il |\TW!CC)HADO

WEBB CUUN l Y DISTRICT CLF.,RK l
P 0 BO\' 1 l

Calendar call set for 11/{}'7/17 at
1:30 Dm in the 49*}‘ District Court

 

  

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Case 5:17-cV-00229 Document1-3 Filed in TXSD on 10/27/17 Page 91 of 68

 

 

 

 

 

 

 

2017CVH002094D1
OFHC`ER'S RIITURN
Came to hand On the _______ day of 20`]7 at O'CLOCK .M,
Executed at , within the COUN'§`Y of at
C)'CLOCK .M. on the clay of , 2017, by delivering to the within named

 

 

]OHN DOE each in person a true copy of this citation together with the accompanying copy of the
petition, having first attached such copy of such petitir:i 1 to such copy of citation and endorsed on such
copv of citation the date of delivery

The distance actually travelled by me in serving such process was _ miles, and my fees are as
follows;

"i`otal Fee for serving this citation 55

To certify which, witness my hand officially

 

Si"i ERlFP, CONSTABLE

 

 

 

 

 

COUN'I`Y, TEXAS
BY
DE`PUTY

THE STATE OF TEXAS i
COUNTY OF WEBB }
Before me, the undersigned authority on this day personally appeared ,
who after being duly sworn, upon oath said that a notice, of which the above is a true copy, was by
him/her deiivereci to on the day of
SWORN TO AND SUBSCRIBED BEFORE ME on the ___________ day of , to certify
which witness my hand and seal of officel

NOTARY PUBLIC

MY (.:Ol‘vll\'llSSlOl\l EXP`[R E.S

 

 

 

 

 

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Case 5:17-cV-OO229 Document1-3 Filed in TXSD on 10/27/17 Page 22 of 68

 

 

SERVE

2017CVH002(394D1
CITATION

THE STATE OF TEXAS
COUNTY OF WEBB

NOTICE TO THE DEFENDANT: "YOU HAVE Bl.'_",l._il\l SUIEID. ‘r’OU MAY EMPLOY AN ATTORN`EY. lF
YOU OR YOUR A“FT`ORNEY DO NOT Fli_E A Wl{l"l"]"i.:`,;`\l ANSWER WITH l`l"lrili` CLERK WHO ISSUED
'l`l‘il$ Cl'l`r’\"l‘fON BY lO:OO A.M. Oi\l 'i`l~'ll'i MOND.-‘\`r' ,\'i§X"i" FOLLOWING THE EXPIRATEON OF
"l`le`.N'l`Y DAYS AF‘l`E.R YOU WERE SERVED Tl-iiF» Cl`l"A"l"lON AND PET}TION, A DEFAULF["
]UDCMEN"[` MAY BE'. 'l`AKiZN AGA!NST YOU."

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DEFENDANT, I.N THE HERE¥NAFTER STYU£D AND NUMBERED CAUS£, YOU ARE HEREB¥
COMMANDED TO APPEAR BEFORE THE 49"‘ Districl Court of Webb County, Te)<as, to be held at the
said courthouse of said county in the city of Larecio, Webb County, Texas, by filing a written answer to
the Original Petition, jury Demand, and Request for Disclosnre of Plaintiff at or before 10:90 O'CLOCK
A.M. of the i\/londay next after the expiration of 20 days after the date of service thereof, a copy of which
accompanies this citationf in the Cause #: 2017€\/1--]0020941')'1, styled:

MOISES GONZALF?,, Pl.i-'\lNTIFF
VS.
SENTlNEL INSURANCE COMPANY, L'l'i" _\ _'\’D jOI'IN DOE, D`EPENDANTS

Said Plaintiff's Originai Petition, ]ury Demand, and Rec'iucst for Disciosure was filed on 08/31/2017£11 said
court by:

MATTHEW ZARGHOUNI, ATTORN EY FOR Pl_AINTll“-`F

7322 SOUTHWEST FWY, SUITE 1965

HOUSTON, TX 770'74

WITNESS ESTHER DEGOLLADO, DiSTRlCT CLERK OF WEBB COUNTY, TEXAS, issued and given
under my hand and seat of said court at office, on this the “"*' day of September, 2017.

CLl`-iti~f OF COURT

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Calendar call set for 11/07/17 at W§_-B§§ L: UN FY D§STR§CT CLER '\.___»<\A"£
1130 Dm in the 49“‘ District Court p_ @_ [.;C jj ' ;_;;' `~_“:,;_“§

i_ARi;`l.)O_. l` X 78042

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Case 5:17-cV-OO229 Document 1-3 Filed in TXSD on 10/27/17 Page 23 of 68

Filed

 

 

 

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Esther Deg ado
District |erk

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_ 2017CW00209QWCVH002094D1
CITATIUN

THE STATE OF TEXAS
COUNTY OF WEBB

NOTICE TO THE DEFENDANT: "YO`U H./\Vl`i lilili`l\l SU§‘:`,D. YOU MAY lil\/ll)l.OY Ai\i A'I"TORNEY. li:
Y()U OR YOUR AT'TC.)RNEY DO NOT FII.E A WRl"l*l`EN ANSWER Wl'l`l'l 'l`HE Cl_ERK WHO ISSUED
`l"lliS CITATION BY 10:00 A.M. Ol\l THE MONDAY NEXT F(JLLOW]NC THE EXF]R.A'l`lON OF
'!`V\"liN"i"i" l")AYS AI?`l'l-,iR \'(`JU W]"-.l'\’[". SERVFD Fl`l~~llS ClT/\TION /-\ND l”ii'l"l'l"lON, /\ DET~`AULT
]UDGM ENT M!-`\Y BE `l`Al\lllN ACAINSrl` YOU."

TO: SENTINEL INSURANCE COMPANY, l_TD. (CT CORPORATlON SYSTEM)
1999 BRYAN STREET, STE 900
DALLAS, TX 7520]

DF.FENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE HEREB\'
COMMANDED TO APPEAR BEFORE THE 49“‘ District Court of Webb County, Texas, to be held at the
said courthouse of said county in the city of Laredo, Webb County, 'l`exas, by filing a Written answer to
the Oi'iginal Petition, ]ury Domand, and Request for Disclosure. of Plaintiff at or before 10:00 O'CLOC}<
A.;’\/l. ot‘ the i\/londay next after the expiration of 20 days after the date of service thereof a copy of which
accompanies this citation, in the Cause az 20i7C\/th0209¢|Di, styled:

MOlSES GONZAI\,EZ, PLAINTIFF
VS.
SENT`iNEL INSURANCE COMPAN¥, [,TD AND ]OHN DOE, DF.FENDANTS

Said Plaintif§’s Originai .Petition, }ury Dcmand, and chucst for Disclosure was filed on 08/31/20]7 in said
Couri by:

MATTHEW ZARGHOUNI, ATTORNEY FOR PLAINTI¥I~`

7322 SOUTHWEST FWY, SUITE 1965

HOUSTON, TX 77074

WITNESS ESTI'IER DEGOLLADO, DiS'i"RlC"l` CLIERK Oii WEBB CC)UNTY, 'I`EXAS, issued and given

undec my hand and seal of said court at office, on this the 8"‘ day of Septernber, 2017.

CLIZRK OF COURT

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_ ESTIIER DECOl_. l. J\DO
1:3[] pm in the 49'*' District Court P_ O BOX 667 .

LAREDO, TX 78042

 

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Case 5:17-cV-00229 Document 1-3 Filed in TXSD on 10/27/17 Page 24 of 68

 

 

 

 

 

 

 

2017CVH002094[)1
OFPICER‘S RETURN
C'sme to hand on the __________ day ot _ 2(}1?' at ___ O'Cl,.OCK .M,
llxecuted at , Within the COUNTY of at
O'CLOCK ____._M. on the day of , 2017, by delivering to the within named

 

SENT[NEL INSURANCE COMPANY, LTD, each, in person, a true copy of this citation together with

the accompanying copy of the petition, having first attached such copy of such petition to such copy of
citation and endorsed on such copy of citation the date of delivery

rI`he distance actuatl_v travelled by me in serving such process was

__ miles, and my fees are ss
t`oiiows:

 

‘l`otai liee for serving this citation

 

-- or sEthcs ATTACHED

 

 

T'o certif}r \»vhich, Witness my hal d officiallv.

 

 

Si~'lERIFF, CONSTABLE
_ COU N"I`Y, 'l`[-ZXAS

BY

 

DEPU"E"Y

THE STA'I`F. OF TEX.AS l
COUNTY OI~` WEBB l

iietore me, the undersigned authority, on this day personally appeared ,

Who after being duly sworn, upon oath said that a notice, of which the above is a true cop)', WBS by
him/her delivered to On the day of

 

SWORN 'i"O AND SU BSCR[B]€D BEFOR[:`. ME on the clay of __________________________, __ to certify
which witness my hand and seal ot' office

 

NO'I`ARY PUBI..iC
MY CO`MMI§S`ION EXi:’iREfS

 

 

 

 

Case 5:17-cV-00229 Document 1-3 Filed in TXSD on 10/27/17 Page 25 of 68

AFF|DAV|T OF SERV|CE

State of Texas County of Webb 49th Judicial District Court
Case Number: 20lYCVH002094Dl

Plaintltf;
Nfoises Gonza|ez

V'S.

Detendant;
Sentinel lnsurance Company, Ltd. and John Doe

For:

Matthew Zarghouni

Zar l_avv F£rrn

7322 Southvvest Freeway
Suite 1965

l"ioustonY TX 77074

Received by Amado Santiago on the 13th day of Septemt)er, 2017 at B:OO am to be served on Sentinel
lnsurance Company.

l, Arnado Santiago, being duly sworn. depose and say that on the 13th day of September, 2017 at 10:35
am, l'.

served a REG|STERED AGENT by delivering a true copy of the Citation and Plaintiff‘s Original
Petition, Jury Demand, and Rec;uest for Disclosure with the date and hour of service endorsed thereon
by me1 tot L.aura Perez CT Corporation System as Registered Agent at the address oft 1999 Bryan
Street. Suite 900. Dai|as, TX 7520‘| on behalf of Sentinel insurance Company, and informed said
person of the contents therein, in compliance with state statutes

l certify that | am over the age ot 18, have no interest in the above action, and arn authorized to serve
pursuant to Ru|e 103 ot the Te)<as Rules ot Civil Procedure and the Suprerne Court of Texas Order.

Before me, a notary nubltc. on this day personally
appeared the above named person, known to me to Amadg Santi§go

be the person Whose name is subscribed to the SCH# 10255, Exp_ 4/30/19
foregoing document and| being by rne first duly
sworn, declared that the statements therein

 

Santiago Legal Services

contained are W:thin his/her personal knowledge and p_()_ Box1505
experience to be true and correct Given under my Wyi;@l TX 75998
mand and seal of office on the 13th day of (972) 497_2122

Septernber. 2017

OurJob Seria| Number: 860-2017000800
Ref; Gonza|ez v. Sentinel insurance
l\l ARY PUBL|C

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Case 5:17-cV-00229 Document1-3 Filed in TXSD on 10/27/17 Page 26 of 68

Filed

10/9/2017 462 PN|
Esther Dego|lado
District C|erk
Webb District
Nlichelle Garza

Cause No. 2017CVH002094D1 zcircvnoczcsmi
rviorsEs GONZALEZ § rN THE DisTRrCT COURT
v. § 49T*"JUD1C1A1_JDISTRICT
SF,NTINEL iNSuRANCE COMPANY, LTD. §
AND JOHN nos § WEBB COUNTY, TEXAS

SENTINEL INSURANCE COMPANY, LTD’S ORIGINAL ANSWER, VERIFIED
DENIAL AND PLEA IN ABATEMENT, SPECIAL EXCEPTIONS
AND AFFIRMATIVE DEFENSES
Dei`endantt Sentinel lnsurance Company, htd. (“Sentinei”) files this Original Answcr,
Veriiicd Denial and Plea in Abatcmcnt, Special Exccptions and Aftirmative Dcfcnses pursuant to
Tcxas Rules ofCivil Proccdurc 91, 92, 93 and 94. In Support ofthis Answcr, Sentinel shows the

t`ollowing:

I.
GENERAL DENIAL

Pursuant to Tex. R. Civ. P. 92, Sentinel generally denies the material allegations contained
in Plaintiii`s Original Petition (the “Petition”)t including any supplemental or amended petition,
and demands strict proof by a preponderance ofthe cvidcncc, or other applicable legal standard,
on all of Plaintit`i`s allegations1 if Plaintiff can do so.

II.
VERIFIED DENIAL AN]) PLEA IN ABATEMENT

As permitted by Rule 93 ofthe Tcxas Rules ot`Civil Procedure, Sentinel specifically denies
that Plaintiff l\/loiscs Gonzalez, l) has standing to sue, and 2) is entitled to recover in the capacity
in which he has succl. Sentinel asks the Coun to abate these proceedings as Plaintifflacl<s standing
to sue and is not entitled to recover in the capacity in which he has sucd. Spccifically, Plaintift`did

not enter into a contract ofinsurance with Sentinel. Sentinel issued the applicable insurance policy

Case 5:17-cV-00229 Document1-3 Filed in TXSD on 10/27/17 Page 27 of 68

to Kamerinas Enterprises, lnc. A copy of the insurance policy is attached as Exhibit A to the
Verilication of I\/lartin R. Sadler filed in connection with this Verified Denial and Plea in
Abatement. Plaintiff has no foundation on which to base any alleged right to recover on his
contractual or extra-contractual claims against Sentinel.

For these reasons, Sentinel asks the Court to set its plea in abatement for hearing and, after
the hearing. grant Sentinel’s plea in abatement, order Plaintiff to cure the pleading defect, and, if

Plaintiff fails to cure the defect, strike Plaintist Petition.

III.
IMPR()PER PARTY

Plaintiff l\/loises Gonzalez is an improper party to this lawsuit. Plaintiff is not a party to
any insurance contract with Sentinel. Plaintiff lacks standing to bring this suit against Sentinel.
As a result, none of Plaintiff"s claims against Sentinel have any basis in law or fact. Sentinel is
entitled to all reliel`provided by Texas Rule of Civil Procedure 91a, including dismissal from this
suit and recovery of costs and attorney fees.

Sentinel files the remainder ofthis Answer subject to the determination of whether Plaintiff
l\/loises Gonzalez is a proper party to this lawsuit

III.
SPECIAL EXCEPT[ONS

FIRST SPECIAL EXCEPTION
Plaintiff’s Breach of Contract Claim

Sentinel specially excepts to the breach ofcontract cause of action in the Petition, in which
Plaintiff vaguely and generally alleges that Sentinel breached the insurance contract. This vague
and indefinite breach of contract claim fails to provide: (l) fair notice ofthe elements and facts of

the loss allegedly sustained by Plaintiff; (2) fair notice offacts showing Plaintiff’s alleged loss was

Case 5:17-cV-00229 Document 1-3 Filed in TXSD on 10/27/17 Page 28 of 68

covered by the insurance contract at issue; or (3) fair notice of the acts or omissions by Sentinel
that amount to a breach ofthe contract, if any, to Plaintiff.'

The basic elements of a cause of action for breach of contract are: (l) there is a valid
enforceable contract; (2) plaintiff performed its contractual obligations; (3) defendant committed
a material breach ofthe contract; and (4) defendant’s breach caused the injury for which plaintiff
seeks damages Plaintiff should be required to amend the breach of contract claim and state with
particularity: (l) the facts and elements supporting its alleged loss; (2) the facts demonstrating the
portion ofthe losses covered by the contract of insurance in question; (3) the acts or omissions by
Sentinel that allegedly amounted to a breach ofthe contract, ifany; and (4) the maximum damages
sought by Plaintiff for the alleged breach.

SECOND SPECIAL EXCEPTlON
Plaintiff"s Claim for Breach of Dutv of Good Faith and Fair Dealing

Sentinel specially excepts to Plaintiff`s claim for breach ofthe duty of good faith and fair
dealing, to the extent such claim is made in the Petition, because Plaintiff failed to plead all ofthe
clements ofthis cause ofaction. The elements for common law bad faith claims are: (l ) there was
an insurance contract between the plaintiff(insured) and the defendant (insurer) that created a duty

ol` good faith and fair dealing; and (2) defendant breached its duty when it:

a. denied or delayed payment when liability was reasonably clear, or
b. canceled an insurance policy without a reasonable basis; and
c. defendant"s breach was the proximate cause of plaintiffs damages2

 

|Sm')."cr i', Texcrs Depri Oszrma/n S`ei'r. _. 750 S.W.Zd 827, 829 (Tex. App. B El Paso i988, no writ) (tria] court can order
the Plaintil`l` to specifically plead a cause ol` action which is originally pled in general terms).

2 See Srm‘e .'"`rn~m l","re cii- (`ns. (`0. i'. .S`r`minons. 963 S.W.Ed 42. 44 (Tex. 1998); Um'verse Lr`fe lns. CG. v. Gi.'es, 950
S.W.Qd 48. 50-51 ('l`e.\'. 1997) (elements l-2); Un."r)n Banker's' lns. Coi v. Sher'.fon_. 889 S.W.Zd 278, 284 ('l`ex. 1994)
(e|ements l-Z);_ .-'li'm)/n' v. i-’\-"a!."o.‘rm' Cry. Mirl. /~'r`re lns. Co., 725 S.W. 2d l64, l67 *(Tex. l9S'/`); See arise stranch v.
lrr.ri..¢r'mrce C'oi qfr’\#". r-'lmi. 748 S.W. 2d 210. 212-12 ('l`ex. 1988)\

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Plaintiff failed to give Sentinel fair notice of the elements, facts, and circumstances
supporting the bad faith claims. Plaintiff should be required to file an amended pleading that sets
forth the elements, facts, and evidence in support ofPlaintift`s claim for breach ofthe duty ofgood
faith and fair dealing, and all related damages.3

THIRD SPECIAL EXCEPTION
Plaintifi"s Claims for Noneompliance with Texas lnsurance Code
and Texas Deceptive Trade Practices Aet

Sentinel specially excepts to the causes of action in the Petition for noncompliance with
the Texas lnsurance Code, because Plaintift"s claims regarding any alleged lnsurance Code
violations are deficient The elements for a cause of action for violation of Chapter 541 of the
Texas lnsurance Code are: (l) Plaintiff is a “person” as defined by Texas lnsurance Code Section
541.002(2); (2) Sentinel’s acts or practices violated a section of the insurance Code, violated
section 17.46(b) ofthe 'l`exas Business and Commerce Code, or a tie-in provision of the Business
& Commerce Code; and (3) Sentinel`s alleged acts or practices were a producing cause of actual
damage to Plaintiff4 Plaintiff fails to give fair notice of the facts and circumstances supporting
the alleged violation(s) of Section 541 of the Texas lnsurance Code. Plaintiff should be required

to tile an amended pleading that sets forth facts supporting the claim for Sentinel’s alleged

violations of Section 541 of the Texas lnsurance Code, and any resulting damagesl

 

3 See rl'i'czssey 1-'. Armco Sree! Co., 652 S.W.Zd 932, 934 (Te.\'. 1983) (special exceptions are the proper vehicles to
question the legal sufficiency ol`a cause of action in Plaintil`f:s petition); Mose!y v, Hernande:_. 797 S.W.Zd 240, 242
(Tex. App, B Corpus Christi 1990._ no writ); and Spencer v. Cr`ry ofSeagovi/le, 700 S.W.2d 953, 957 (Tex. App. B
Dal|as 1985. no writ) (if the plaintiff does not plead all ofthe elements of its causes ofaction, a Defendant may file
special exceptions to require plaintiff to plead specilicall_v}.

4 'I`I-,`X. lNS.COl)[-:'.Art. 21.21. section Z(a). 16; TEX. BUS. & COl‘v|. Code section 17.46(b); C'rown Life lns. Co. v. Casreel,
22 S.W.}d 378` 383 (Tex. 1999); (_`ei'.'ic l.ife last Co. 1'. Coars, 885 S.W.Zd 96. 99 (Tex. 1994); Ai'l'smfe lns. Co. v.
l'l-"r.'.rsr)m 876 S.W.Zd 145_ 147 {Tex. 1994).

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Plaintiffs vague and indefinite claims regarding alleged violations of Section 542 of the
Texas lnsurance Code are also delicient.5 Plaintiff fails to give fair notice of the facts and
circumstances supporting the alleged violation(s) of Section 542 of the Texas lnsurance Code.
Plaintiff should be required to file an amended pleading that sets forth facts supporting the claim
for Sentinel`s alleged violations of Section 542 ofthe Texas lnsurance Code (the Prompt Payment
Statute)` and any resulting damages

Plaintiff generally alleges that Sentinel violated subparts ofthe Texas lnsurance Code, but
fails to assert any facts predicating these claims. Plaintiff should be required to file an amended
pleading that sets forth the elements, facts, and evidence in support ofthe insurance Code violation
claims, and all resulting damages

Plainti'ff`s vague and indefinite claims regarding alleged violations ofthe Deceptive Trade
Practices Act (DTPA) are also deficientl Plaintiff fails to give fair notice of the facts and
circumstances supporting the alleged violation(s) ofthe DTPA. Plaintiffshould be required to file
an amended pleading that sets forth facts supporting the claim for Sentinel’s alleged violations of
the DTPAq and any resulting damages

FOURTH SPECIAL EXCEPTION
Plaintist Claim for Punitive or Exemplary Damages

Sentinel specially excepts to the causes of action and the allegations contained in the
Petition through which Plaintiff seeks an award ofpunitive or exemplary damages. Plaintiff fails

to give Sentinel fair notice of what conduct allegedly entitles him to a punitive or exemplary

 

5 .S`rrbirr it i"`e,\'n_t Dep.'. of Hr.'mcrn' Sen’r'ces. 750 S.W.2d 827._ 829 (Tex. App. - 131 Paso, 1988, no writ} (allegations
solely tracking statutory grounds did not give Defendant fair notice of facts and cireun'istancesl

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damage award. Plaintiff should be required to re-plead and state with particularity the elements,
facts, and evidence warranting imposition of punitive or exemplary damages.6

FIFTH SPECIAL EXCEPTION
Plaintiff"s Claims for Knowing and/or Intentional Conduct

Sentinel specially excepts to the allegations in the Petition, asserting that Sentinel acted
knowingly or intentionally, as those terms are used in the Texas lnsurance Code and DTPA,
because no facts were provided to give fair notice ofthese claims. Sentinel requests that Plaintiff
be required to file an amended pleading that sets forth each element and supporting facts for his
claims of knowing or intentional conduct.

SIXTH SPECIAL EXCEPTION
Failure to Perform Conditions Precedeut

To the extent a policy exists that provides coverage to Plaintift`, Plaintiff`s claims are barred
in whole or in part because Plaintiffhas failed to comply with all conditions precedent to any right
to recover under the insurance policy. Specifically. Plaintiff has failed to prove that the alleged
loss was a covered loss, or has failed to segregate that portion of the loss that Plaintiff claims is
covered from the portion ofthe loss for which there is no coverage

Plaintiff also failed to provide Sentinel with written notice 60 days before the date the
lawsuit was filed as required by Section 541.154 of the Texas lnsurance Code and 17.505 ofthe
Texas Deceptive Trade Practices Act. Plaintiff also failed to provide Sentinel with written notice
30 days before the date the lawsuit was filed as required by Section 38.002 of the Texas Civil
Practice and Remedies Code. As such Plainti'ffis not entitled to attorneys’ fees pursuant to the

Texas Civil Practices and Remedies Code or the Texas insurance Code and DTPA.

 

h See ("'ct.rr/eberry i'. (joo."sb)#‘ B."o'g. Cor‘p` 617 S.W.Zd 665. 666 (Te?\'. 1981) (in a Suit to recover exemplary damages
Plaintil`fs must sufficiently allege allegations o|`misconduct warranting imposition ofsame).

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IV.
DEFENSES

FIRST DEFENSE
Failure to State a Claim

Plaintist claims are barred in whole or in part, because the Petition fails to state a claim
on which relief can be granted. Plaintiff fails to describe how Sentinel’s alleged breach ofthe
insurance contract could be converted to support any other causes of action including but not
limited to. breach ofthe duty ofgood faith and fair dealing or a violation underthe Texas lnsurance

Code or DTPA.

SECOND DEFENSE
Policy Provisions Limit or Preclude Coverage

The insurance policy issued by Sentinel contains exclusions, limitations, and endorsements
that preclude or limit coverage in whole or in part.
lNSURER: SENTINEL INSURANCE COl\/IPANY, LTD.
Policy Number: 65 SBA TBO306
SPECTRUM POLICY DECLARATlONS
Named insured and Mailing Address: Kamerinas Enterprises, lnc.
5714 Cerrito Prieto Ct.
Laredo, Texa_s 78041
Policy Pcriod: From 06/16/16 To 06/16/17
s >r s s

Location: 001 Building: 001

5714 Cerrito Prieto Ct.
Laredo, Texas 78041

Description ofBusincss:
Btlilding Owners _ Lessors Risk Only - Retail Occupancy
Dcductible: $l`OOO PER OCCURRENCE

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BUILDING AND BUSINESS PERSONAL PROPERTY LIMITS OF` INSURANCE
BUILDING
REPLACEMENT COST $ l ,568,400
BUSINESS PERSONAL PR()PERTY
REPLACEMENT COST NO COVERAGE
PERSONAL PROPERTY OF OTHERS
REPLACEIVIENT COST NO COVERAGE

=l<***

Location: 001 Building: 002

5714 Cerrito Prieto Ct.
liai'edo. Tcxas 78041

Description of Business:
Building Owners - Lessors Risk On|y - Retail Occupancy
Deductible: $1.000 PER OCCURRENCE
BUILI)ING AND BUSINESS PERSONAL PROPERTY LIMITS OF INSURANCE
BUILDING
REPLACEMENT COST $65,400
BUSINESS PERSONAL PROPERTY
REPLACEMENT COST NO COVERAGE

PERSONAL PROPERTY OF OTHERS

REPLACEMENT COST NO COVERAGE

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Location: 001 Building: 003

5714 Cerrito Prieto Ct.
Laredo, Texas 78041

Description of Business:
Building Owners 4 Lessors Risk Only 4 Retail Occupancy
Deductiblc: 81,000 PER OCCURRENCE
BUILDING AND BUSINESS PERSONAL PROPERTY LIMITS OF INSURANCE
BUILDING
REPLACEMENT COST 332,700
BUSINESS PERSONAL PROPERTY
REPLACEMENT COST NO COVERAGE

PERSONAL I’ROPERTY ()F OTHERS

REPLACEMENT COST NO COVERAGE

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SPECIAL PROPERTY COVERAGE FORM

A. COVERAGE
We will pay for direct physical loss ofor physical damage to Covered Property at the premises
described in the Declarations (also called “scheduled premises” in this policy) caused by or
resulting from a Covered Cause ofLoss.

l. Covered Property

Covered property as used in this policy, means the following types ofproperty for which a
Limit of lnsurance is shown in the Declarations:

a. Buildings, meaning only building(s) and structure(s) described in the Declarations,
including:

(l) Compieted additions;
(2) Permanently installed:

(a) Fixtures;

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(b) l\/lachinery; and
(c) Equipment;
(3) Outdoor fixtures;

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(5) Building Glass, meaning glass that is part ofa building or structure;

Pi=*>l=*

3. Covered Causes of Loss
RISKS OF DlRECT PHYSICAL LOSS unless the loss is:

a. Excluded in Section B., EXCLUSIONS; or
b. Limited in Paragraph A.4. Limitations; that follow.

4. limitations

a. We will not pay for direct loss ofor damage to:

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(3) The interior of any building or structure caused by or resulting from rain, snow,
sleet, ice, sand or dust, whether driven by wind or not, unless:

(a) The building or structure first sustains physical damage by a Covered Cause of
Loss to its roof or walls through which the rain, snow, sleet, ice, sand or dust

enters;
* =l= * *

B. EXCLUSIONS

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2. We will not pay for physical loss or physical damage caused by or resulting from:

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c. Miscellaneous Types of Loss:
(]) Wear and tear;

(2) Rust, corrosion, fungus, decay` deterioration, hidden or latent defect or any
quality in property that causes it to damage or destroy itself;

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But ifphysical loss or physical damage by the “speciiied causes ofloss,” building

glass breakage or Equipment Breakdown Accident results, we will pay for that
resulting physical loss or physical damage.

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3. We will not pay for loss or damage caused by or resulting from any ofthe following
But if physical loss or physical damage by a Covered Cause of` Loss results, we will
pay for that resulting physical loss or physical damage
a. Weather Conditions: weather conditions This exclusion only applies if

weather conditions contribute in any way with a cause or event excluded in
paragraph l. above to produce the physical loss or physical damage.
>i¢ * =i= *
c. Negligent Work: faulty, inadequate or defective:
* * >i¢ $
(2) Design, specifications, workmanship, repair, construction, renovation,
remodeling, grading, compaction;
(3) l\/latcrials used in repair, construction, renovation or remodeling; or
(4) l\/laintenance ofpart or all ofany property on or offthe “scheduled premises.”
DEDUCTIBLES
l. We will not pay for physical loss or physical damage in any one occurrence until the

amount of physical loss or physical damage exceeds the Deductible shown in the
Declarations We will then pay the amount ofloss or damage in excess ofthe Deductible
up to the applicable Limit oflnsurance.

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E. PROPERTY LOSS CONDITIONS

four amended by endorsement SS ] () 11 10 15 Texa.s' Chcrnges)

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B. PROPERTY LOSS CONDITIONS

1. Paragraph E.2. Appraisal Property Loss Condition is deleted and replaced by the
following:

Appraisal

a. lf we and you disagree on the amount of loss (or net income or operating
expense, as regards Business income Coverage), either may make written
demand for an appraisal ofthe loss. In this event. each party will select a
competent and impartial appraiser and notify the other of the appraiser
selected within 20 days of` such demand 'l`he two appraisers will select an
umpire. lfthey cannot agree within 15 days upon such umpire, either may
request that selection be made by a judge of a court having jurisdictionl
Each appraiser will state separately the amount ofloss. lfthey fail to agree,
they will submit their difference to the umpire. A decision agreed to by any
two will be binding as to the amount ofloss. Each party will:

l. Pay its chosen appraiser; and
2. Bear the other expenses of the appraisal and umpire equally.

b. lfthere is an appraisal:

(1) You will still retain your right to bring a legal action against us, subject
to the provisions of the Legal Action Against Us Loss Condition;
and

(2) We will still retain our right to deny the claim.

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(tr.r modified by endorsement SS 10 ll f 0 15 Texa.s' Changes).'

B. PROPERTY LOSS C()NDITIONS

3.

Paragraph E.4. Legal Action Against Us Property Loss Condition is deleted and
replaced by the following

Legal Action Against Us

a. Except as provided in paragraph b. below, no one may bring legal action
against us under this insurance unless:

(l)
(2)

There has been full compliance with all of the terms of this policy;
and

The action is brought within 2 years and one day from the date the
cause of action first accrues A cause of action accrues on the date of
the initial breach ofour contractual duties as alleged in the action.

b. With respect to loss or damage in the State of Texas caused by windstorm
or hail in the catastrophe area as defined by the Texas lnsurance Code, no
one may bring a legal action against us under this insurance, unless:

(l)
(2)

There has been full compliance with all of the terms of this policy;

and

The action is brought within the earlier of the following:

(a) Two years and one day from the date we accept or reject the
claim; or

(b) Three years and one day from the date of the loss or damage that
is the subject ofthe claim.

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(as pro victedjor by Specr'al Properly Covemge Form, SS 00 07 07 05 ).'

5.

Loss Payment

In the event of physical loss or physical damage covered by this policy:

a. At our option we will eithcr:

(1)

(2)

(3)

Pay the value of physically lost or physically damaged property, as
described in paragraph d. below;

Pay the cost of repairing or replacing the lost or damaged property,
plus any reduction in value of repaired items;

Take all or any part of the property at an agreed or appraised value; or

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(4) Repair, rebuild or replace the property with other property of like kind
and quality.

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d. We will determine the value of Covered Property as follows:

(l) At replacement cost (without deduction for depreciation), except as
provided in (2) through (7) below:

(a) You may make a claim for physical loss or physical damage covered
by this insurance on an actual cash value basis instead of on a
replacement cost basisl ln the event you elect to have physical loss
or physical damage settled on an actual cash value basis, you may
still make a claim on a replacement cost basis if you notify us of
your intent to do so within 180 days after the physical loss or
physical damage

(b) We will not pay on a replacement cost basis for any physical loss or
physical damage:

(i) Until the physically lost or physically damaged property is
actually repaired or replaced; and

(ii) Unless the repairs or replacement are made as soon as
reasonably possible after the physical loss or physical damage.

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(c) We will not pay more for physical loss or physical damage on a
replacement cost basis than the least of:

(i) The cost to replace, on the same premises the physically lost or
physically damage property with other property of comparable
material and quality and which is used for the same purpose; or

(ii) The amount you actually spend that is necessary to repair or
replace the physically lost or physically damaged property.

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(n.s' modified by endorsement SS 10 11 12 14 Texns Chrmges).‘

B. PROPERTY LOSS CONDIOTIONS

4. Paragraph E.S. Loss Payment Property Loss Condition is amended as follows:

a. The provisions pertaining to notice of our intentions and the time period for
payment of claims are deleted and replaced by the following:

(l) Claims Handling

(a)

(b)

Within 15 days after we receive written notice ofclaim, we will:

(i)

(ii)
(iii)

Acknowledge receipt of the claim. if we do not
acknowledge receipt of the claim in writing, we will keep
a record of the date, method and content of the
acknowledgement;

Begin any investigation ofthe claim; and

Request a signed, sworn proof of loss, specify the
information you must provide and supply you with the
necessary forms. We may request more information at a
later date, if during the investigation of the claim such
additional information is necessary.

We will notify you in writing as to whether:

(i)
(ii)
(ni)
(iv)

The claim or part ofthe claim will be paid;

The claim or part ofthe claim has been denied, and inform
you of the reasons for denial;

l\/lore information is necessary; or

We need additional time to reach a decision.

We will provide notification, as described in (b)(i) through
(b)(iv) above, within:

(V)
(vi)

15 business days after we receive the signed, sworn proof
of loss and all information we requested; or

30 days after we receive the signed, sworn proof of loss
and all information we requested1 if we have reason to
believe the loss resulted from arson.

lf` we have notified you that we need additional time to
reach a decision, we must then either approve or deny the
claim within 45 days of such notice.

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(2) Claims Payment

We will pay for covered loss or damage within 5 business days after:

(a)

(b)

We have notified you that payment of the claim will be made
and have reached an agreement with you on the amount of loss;
or

An appraisal award has been made.

However, if payment ofthe claim or part of the claim is conditioned
on your compliance with any of the terms ofthis policy, we will make
payment within 5 business days after the date you have complied with
such terms

(3) Catastrophe Claims

lf`a claim results from a weather related catastrophe or a major natural
disaster, the claim handling and claim payment deadlines described in
a.(l) and a.(2) above are extended for an additional 15 days.

(4)

Catastrophe or l\/lajor Natural Disaster means a weather related
event which:

(a) ls declared a disaster pursuant to the Texas Disaster Act of
1975; or

(b) ls determined to be a catastrophe by the State Bard of
Insurance.

The term “business days” means a day other than Saturday,
Sunday or a holiday recognized by the state of Texas.

b. The following is added:

Liquidated Demand

Per Texas lnsurance Code, Section 862.053, a fire insurance policy, in case
oftotal loss by fire of property insured, shall be held and considered to be a
liquidated demand against the Company for the full amount of such policy.
This subsection shall not apply to personal property.

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Sentinel reserves the right to assert other policy defenses as discovery in this case advances.

THIRI) I)EFENSE
Br)na Fide Controversy/Liabilitv Not Reasonably Clear

As to Plaintiff"s extra-contractual claims, a bonnjide controversy existed and continues to
exist concerning Plaintiff"s entitlement, if any, to insurance benefits from Sentinel, and Sentinel
has the right to value claims differently from those asserting claims under the Policy without facing
bad faith liability. Sentinel will show that a bonajide controversy existed and continues to exist

regarding any alleged further covered loss

FOURTH DEFENSE
Due Process

To the extent Plaintiffprays for punitive or exemplary damages Sentinel invokes its rights
under the Due Process Clause ofthe Fifth Arnendment ofthe United States Constitution as applied
to the States through the Fourteenth Amendment of the United States Constitution. Sentinel
affirmatively pleads that Plaintiff’s claim for punitive or exemplary damages violates the Due

Process Clauses of the Fifth and Fourteenth Amendments inasmuch as:

l. Punitive or exemplary damages can be assessed in an amount left to the discretion
ofthejury and judge;
2. A jury award of punitive or exemplary damages need only be based on the vote of

tenjurors and does not require a unanimous verdict;

3. To obtain an award of punitive or exemplary awards Plaintiff need only prove the
theory of gross negligence on a clear and convincing evidence standard and not
beyond a reasonable doubt as should be required when punishment awards are
assessed;

4. Sentinel and its officers all ofwhom are subject to any award, do not have the right
to refuse to testify against themselves but must in fact take the stand or give
deposition testimony or subject the company to the consequences of a default
judgment;

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5. rfhe assessment of` punitive or exemplary damages is not based on a clearly
defined statutory enactment setting forth a specific intentionality requirement or
the specific prerequisites of such a finding and in effect, such damages can be
awarded even though there are no special standards limits or other statutory
requirements to define the means, scope and limit of such awards, rendering such

awards unduly vague and unsupportable under the requirements of due process;
and

6. ln essence, Sentinel is subject to all ofthe hazards and risks of what amounts to a
fine, and in fact, such awards often exceed normal criminal fines, but Sentinel
receives none of the basic rights accorded to criminal defendants when they are
subjected to possible criminal penalties

FIFTH DEFENSE
Egual Protection

To the extent Plaintiff prays for punitive or exemplary damages such request should be
denied because it violates Sentinel’s equal protection rights guaranteed by the Fifth and Fotirteenth
Amendments to the Constitution ofthe United States the provisions ofthe Eighth Amendment to
the Constitution ofthe United States, and the Constitution ofthe State ofTexas, Article 1, Sections

13 and 19.

SIXTH DEFENSE
Punitive Damage _Limitation

Any award of punitive or exemplary damages must be limited to the greater of: (1) two
times the amount of economic damages plus an amount equal to any non-economic damages found
by the jury` not to exceed $750,000; or (2) two times the amount of economic damages plus
$200`000. pursuant to the statutory mandates ofTexas Civil Practice & Remedies Code §§ 41 .002-

41 .009.

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SEVENTH DEFENSE
Damage Limitation

Plaintiff`s damages ifany, are limited by the amounts set forth in the limitation provisions
ofthe Policy. Plaintiff’s contract damages cannot exceed the applicable policy limits ln addition,
Plaintif`f`s damages cannot exceed any stipulated damage limitation or damages requested in the

Complaint.

EIGHTH DEFENSE
Relianee on Case Law

Sentinel reasonably relied on case law from the state and federal courts of Texas, which

supports Sentinel`s interpretation ofthe Policy as it relates to Plaintiffs claims
NINTH DEFENSE
Failu re to Satisfy Conditions Preeedent

Plaintiff did not plead with specificity, the performance or occurrence of all conditions
precedent7 Sentinel demands strict proofthat each and every condition precedent was performed
or has occurred.g To the extent a policy exists that provides coverage to Plaintiff, Plaintiff”s claims
are barred, in whole or in part, because Plaintiff failed to comply with all conditions precedent to
any right to recover under the insurance policy. Specifically, Plaintiff has failed to prove that the
alleged loss was a covered loss and Plaintiff has failed to segregate the portion ofthe alleged loss

that it claims is covered from the portion ofthe alleged loss that is not covered.

 

7 Sec TF.X. R. ClV. P. 54.
g See Gr'r'mm v. Gr."mm. 864 S.W.2d 160_. 162 ('l"ex. App._lrlouston 114"‘ Dist.] 1993, no writ).

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TENTH DEFENSE
Failure to Provide Pre-Suit Notice

Plaintifffailed to provide Sentinel with the required written notice 30 days before the date
the lawsuit was filed as required by Section 38.002 ofthe Texas Civil Practice and Remedies Code.
Consequently, Plaintiff is not entitled to attorneys’ fees as pled pursuant to the Texas Civil
Practices and Remedies Code. Because Plaintiff failed to provide the statutory pre-litigation
notice, Plaintiffis precluded from recovering attorneys" fees and expenses in this matter.

Plaintiff also failed to provide Sentinel with written notice 60 days before the date the
lawsuit was filed as required by the Section 541.154 ofthe Texas lnsurance Code and 17.505 of
the Texas Deceptive Trade Practices Act. Consequently1 Plaintiffis not entitled to attorneys’ fees
as pled pursuant to the Texas insurance Code and DTPA. Because Plaintiff failed to provide the
statutory pre-litigation demand, Plaintiffis precluded from recovering attorneys’ fees and expenses
in this matter.

ELEVENTH DEFENSE
Reservation of Right to Appraisal

To the extent that Plaintiffpresents evidence inconsistent with Sentinel's investigation and
conclusions regarding the amount of loss or cost of repair under the Policy, and the parties are
unable to reach an agreement to resolve this matter, Sentinel reserves and does not waive, the right
ol`either party to the insurance contact to invoke appraisal. The Policy contains an appraisal clause
allowing either party to the insurance contract to invoke the appraisal process in the event that

there is a disagreement concerning the amount of loss for covered losses under the Policy.

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WHEREFORE, Sentinel lnsurance Company, Ltd. prays that on final trial and hearing,

Plaintiff take nothing and that Sentinel recover its costs fees and expenses and for such other and

further relief to which Sentinel may show itselfjustly entitled, whether at law or in equity.

Respectfully submitted,

L,uGENBUHL, WHEATON, PECK, RANKIN AND HUBBARD,
A LAw ConroaATIoN

/'S/ Marrr`n R. Sadfer

l\/lartin R. Sadler

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Rebecca A. l\/loore

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801 Travis Street, Suite 1800
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Telephone: (713) 222-1990
Facsimile: (713) 222-1996

ATTORNEYS FOR DEFENDANT
SENT[NEL lNSURANCE COMPANY, LTD.

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above pleading has been forwarded via
electronic filing and/or facsimile to all counsel of record, on this 9th day ofOctober, 2017 to:

l\/lr. l\/latthew Zarghouni

Zar Law Firm

7322 Southwest Freeway, Suite 1965
Houston, rfcxas 77074

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/s/Mar'£i`n R. Sadler
l\/lartin R. Sadler

 

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Filed

101?2/2017 4115 Pl\/l
Esther Dego||ado

District C|erk
Webb District
Marye| Garza
CAUSE NO. 2017CVH002094D1 zoirch002094oi
KAMERINAS ENTERPRISES, INC. § IN THE DISTRICT COURT
AND MOISES GONZALEZ §
§
§
PLAINTIFFS, §
§
§ WEBB COUNTY, TEXAS
vs. §
§
SENTINEL INSURANCE COl\/[PANY, §
LTD §
§
DEFENDANT. § 49TH .]`UDICIAL DISTRICT

 

PLAINTIFFS’ FIRST AMENDED PETITION AND JURY DEMAND

 

TO THE HONORABLE JUDGE OF SAID COURT:

COl\/IES NOW, Kamerinas Enterprises, lnc. (“Plaintiff”) and its president l\/loises
Gonzalez (“‘l‘\/lr. Gonzalez”) (collectively “Plaintiffs”) and file this Plaintiffs’ First Amended
Petition complaining of Sentinel lnsurance Company, Ltd (“Defendant”), and for cause ofaction,
Plaintiffs would respectfully show the following:

A. DISCOVERY CONTROL PLAN

l. Plaintiffs intend to conduct discovery under Level 2 of Texas Rule of Civil
Procedure 190.3.

B. PARTIES

2. Plaintiff Kamerinas Enterprises, lnc. was in Texas with its principal place of
business located at 5714 Cerrito Prietoi bai'edo, TX 78041 during the policy period. Kamerinas
Enterprises_ lnc. is forfeited under Section 171.255 of Texas Tax Code. Pursuant to the Section
1 1.356 of Texas Business Organizations Code, notwithstanding the termination ofa domestic

filing entity, the terminated filing entity continues in existence until the third anniversary ofthe

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effective date of the entity's termination only for purposes of prosecuting or defending in the
terminated filing entity's name an action or proceeding brought by or against the terminated entity.

3. Plaintiff l`\/loises Gonzalez, is an individual residing in Webb County, Texas. He is
the president and owner ofKainerinas Enterprises, lnc. and appears in this case pursuant to Section
1 1356 of the Texas Business Organizations Code.

4. Defendant Sentinel lnsurance Company, Ltd is an insurance company doing
business in 'fexas and has appeared and filed its answer.

C. .]URISDICTION

5. The Court hasjurisdiction over Sentinel lnsurance Company, Ltd, because Sentinel
lnsurance Company, Ltd, engages in the business ofinsurance in the State ofTexas, and the causes
of action arise out ofits business activities in the State of Texas, including those in Webb County,
Texas_. with reference to this specific case.

D. VENUE

6. Venue is proper in Webb County, Texas because the insured property is situated

in Webb County, Texas. Tex. Civ. Prac. & Rem. Code § 15.032.
E. CONDITIONS PRECEDENT

7. All conditions precedent to recovery have been performed, waived, or have
occurred Plaintiff"s loss resulted from a storm event, and Plaintiff brought this action within two
years ofthe date Defendant refused to provide coverage under the policy. Plaintiffis not required
to separate damages because the alleged damage is not preexisting and the alleged damage arose

from a single event.

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F. AGENCY AN]) RESPONDEATSUPERIOR

8. Whenever in this petition it is alleged that Sentinel lnsurance Company, Ltd, did
any act or omission, it is meant that Sentinel lnsurance Company, Ltd itself or its agents officers
servants employees or representatives did such act or omission, and it was done with the full
authorization or ratification of Sentinel lnsurance Company1 Ltd or done in the normal routine,
course, and scope ofthe agency or employment of Sentinel lnsurance Company, Ltd or its agents
officers servants employees or representatives

G. FACTS

9. Plaintiff is a named insured under a property insurance policy-o$ SBA TBO306
(the “Policy")-issued by Sentinel lnsurance Cornpany, Ltd. The Policy insures among other
things against losses from storm damage to Plaintiff`s property, namely, the real property and
improvements located at 5714 Cerrito Prieto Ct Laredo, TX 78041 (the “Property”).

10. ln 2017` during the policy period, a storm caused damage to the Property that was
covered the Policy. The storm caused extensive damage to the Property including but not limited
to damage to the roof and exterior of the Property.

l 1. Shortly after the storm, Plaintiffs noticed damage to the Property. Plaintiffs
contacted Sentinel lnsurance Company1 Ltd to notify Sentinel lnsurance Company, Ltd of the
damage

12. Plaintif`fs submitted a claim to Sentinel lnsurance Company, Ltd against the Policy
for all roof damage, water damage_, and wind damage the Property sustained as a result of the
storm.

13. Plaintiffs asked that Sentinel lnsurance Company, Ltd honor its contractual

obligations to cover the cost ofrepairs to the Property,

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14. Sentinel insurance Company_, Ltd assigned an adjuster, Mr. Keith l-larris, to adjust
the claim. Defendant, Sentinel insurance Company, Ltd and its adjuster conducted a substandard
investigation of Plaintiff`s claim, failed to thoroughly investigate Plaintiff`s losses and spent an
inadequate amount oftime on the investigation l\/lr. I<eith Harris failed to fully inspect all damage
to the Property,

15. Despite obvious visible storm damage, 1\/1r. l<eith Harris, on his own behalfand on
behalf of Sentinel lnsurance Company, Ltd, verbally misrepresented to Plaintiff and l\/lr. Gonzalez
at the time of the inspection and thereafter that the Property had minimal storm-related damage.
1\/1r. Keith l~larris repeated this misrepresentation, again on his own behalf and on behalfofSentinel
insurance Company, l.std. As ofthe date of filing ofthis Amended Petition, Defendant Sentinel
lnsurance Company, Ltd has refused to provide Plaintiff or its agents in writing or otherwise of its
acceptance or rejection ofthe claim.

16. Together_. Defendant Sentinel insurance Company, Ltd and said adjuster set out to
deny properly-covered damages by performing a results-oriented investigation ofPlaintiff's claim,
which resulted in a biased, unfair, and inequitable evaluation ofPlalntiff` losses on the Property.

17. Defendant Sentinel lnsurance Company, Ltd failed to perform its contractual
obligation to adequately compensate Plaintiff under the terms of` the Policy. All conditions
precedent to recovery under the Policy have been performed by Plaintiff. Sentinel lnsurance
Company, Ltd"s conduct constitutes a breach ofthe insurance contract between Sentinel lnsurance
Company, btd and Plaintiff.

18. Even though the Property sustained obvious damage caused by a covered
occurrence1 Defendant Sentinel lnsurance Company, Ltd and said adjuster misrepresented the

scope of damage to the Property and misrepresented the scope of coverage under the Policy.

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Defendant`s conduct is a violation ofthe Texas lnsurance Code, Unfair Settlement Practices. TEX.
INS. CODE § 541 .060(a)(1).

19. Defendant failed to make an attempt to settle Plaintiff"s claim in a fair manner,
although it was aware ofits liability to Plaintiffunder the Policy. Defendant’s conduct is a violation
ofthe Texas lnsurance Code, Unfair Settlement Practices. TEX. lNS. CODE § 541 .060(a)(2)(A).

20. Defendant refused to adequately compensate Plaintiff’s claim under the terms of
the Policy` and it failed to conduct a reasonable investigation of the claim. This conduct is a
violation of the Texas lnsurance Code, Unfair Settlement Practices. TEX. fNS. CODE §
541.060(a)(7).

21 . Defendant failed to offer Plaintiffa reasonable explanation for why Plaintiff"s claim
was denied. This conduct is a violation ofthe Texas lnsurance Code, Unfair Settlement Practices.
'fEX.1NS.CODE§541.060(a)(3).

22. Defendant, Sentinel lnsurance Company, Ltd, failed to timely acknowledge
Plaintiff`s claim, begin an investigation of the elaim, and request all information reasonably
necessary to investigate Plaintiff"s claim within the statutorily mandated time of receiving notice
ofthe claim. This conduct is a violation ofthe Texas lnsurance Code, Prompt Payment ofClaims.
TEX. INS. CODE § 542.055.

23. Defendant, Sentinel lnsurance Company, Ltd, failed to accept or deny Plaintiff’s
full and entire claim within the statutorily mandated time of receiving all the necessary
information This conduct is a violation ofthe Texas lnsurance Code, Prompt Payment ofClaims.
TEX. lNS. CODE §542.056.

24. Defendant, Sentinel lnsurance Company, Ltd, delayed full payment of Plaintiff’s

claim longer than allowed, and, to date, Plaintiffhas not received full payment for Plaintist claim.

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This conduct is a violation of the Texas insurance Code, Prompt Payment ofClaims. TEX. lNS.
CODE § 542,058.

25. Since the time Plaintiff`s claim was presented to Defendant Sentinel lnsurance
Company, lstd, the liability ofSentinel lnsurance Company, Ltd to pay the full claim in accordance
with the terms ofthe Policy has been reasonably clear. Nevertheless, Sentinel lnsurance Company,
Ltd has refused to pay, despite there being no basis on which a reasonable insurance company
would have relied to deny the claim. This conduct is a violation of Sentinel insurance Company,
Ltd’s duty of good faith and fair dealing

26. Defendant Sentinel lnsurance Company and said adjuster knowingly or recklessly
made false representations as described above, as to material facts Alternatively, Defendant
Sentinel lnsurance Company and said adjuster knowingly concealed all or part of material
information from Plaintiff.

27. To date, Plaintiffhas yet to receive full payment for the damages to which Plaintiff
is entitled under the Policy. Plaintiff has suffered damages as a result of Defendant’s actions
described above The mishandling of Plaintift`s claim also caused a delay in Plaintiff’s ability to
fully repair the Property, resulting in additional damages

H. CAUSES OF ACTION
I. BREACH OF CONTRACT

28. Defendant Sentinel lnsurance Company, l_,td had a contract of insurance with
Plaintiff. Plaintiffmet or performed all conditions precedent under the contract. Sentinel lnsurance
Company1 Ltd breached the terms of that contract by wrongfully denying and/or underpaying the
claim, and Plaintiff was damaged thereby.

29. Defendant Sentinel lnsurance Company, Ltd is therefore liable to Plaintiff for

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breach of contract.
II. PROMPT PAYMENT OF CLAIMS STATUTE

30. Plaintist claim is a claim under an insurance policy with Defendant Sentinel
lnsurance Company, Ltd1 ofwhich Plaintiffgave Sentinel lnsurance Company, Ltd proper notice.
Sentinel insurance Company, btd is liable for the claim.

31. Defendant Sentinel lnsurance Company, Ltd violated the prompt payment ofclaims
provisions of the Texas lnsurance Code, namely, section 542.051 et seq., by:

32. Failing to acknowledge or investigate the claim or to request from Plaintiff all
items statements and forms Sentinel lnsurance Company, Ltd reasonably believed to be required
within the time constraints provided by Tex. lns. Code § 542.055; failing to notify Plaintiff in
writing of its acceptance or rejection ofthe claim within the applicable time constraints provided
by Tex. lns. Code § 542.056; and/or delaying payment of the claim following Sentinel lnsurance
Company, Ltd’s receipt of all items statements and forms reasonably requested and required,
longer than the amount oftime provided by Tex. lns. Code § 542.058.

33. Defendant Sentinel lnsurance Company, Ltd is therefore liable to Plaintiff for
damages ln addition to Plaintiff" claim for damages Plaintiff is further entitled to 18% interest
and attorney’s fees as set forth in section 542.060 ofthe Texas lnsurance Code,

III. UNFAIR SETTLEMENT PRACTICES/BAD FAITH

34. Each of the foregoing paragraphs is incorporated by reference here fully.

35. As explained further herein, Defendant violated Tex. lns. Code § 541.060(a) by
engaging in unfair settlement practices

DEFE.NDANT Sentinel lnsurance Company, Ltd

36. Defendant Sentinel lnsurance Company, Ltd engaged in unfair settlement practices

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by misrepresenting to Plaintiffa material fact or policy provision relating to the coverage at issue;
failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of a claim
after Sentinel lnsurance Company, Ltd‘s liability became reasonably clear; failing to promptly
provide Plaintiff with a reasonable explanation ofthe basis in the Policy in relation to the facts or
applicable law for Sentinel lnsurance Company, Ltd’s denial ofa claim or offer ofa compromise
settlement of a claim; failing within a reasonable time to affirm or deny coverage ofa claim to
Plaintiff or submit a reservation of rights to Plaintiff; and refusing to pay the claim without
conducting a reasonable investigation with respect to the claim.

37. Each ofthe aforementioned unfair settlement practices was committed knowingly
by Defendant Sentinel lnsurance Company, Ltd and was a producing cause of Plaintiff damages
Sentinel lnsurance Company, Ltd is therefore liable to Plaintiff for engaging in such unfair
settlement practices and causing Plaintiff damages

38. l\/lr. Keith Harris was a contractor and/or adjuster assigned by Defendant Sentinel
lnsurance Company, Ltd to assist with adjusting the claim. 1\/lr. Keith Harris was charged with
investigating the claim and communicated with the insured about the Policy terms lnsurance
adjusters are “persons engaged in the business ofinsurance” under Tex. lns. Code 541.001, et seq.,
and are individually liable for their individual violations ofthe Texas lnsurance Code. See Ltberty
Mm. las Co. v. Gnrrz`.s'on Comractors, lnc., 966 S.W.2d 482, 486 (Tex. 1998).

39. Said adjuster was tasked with the responsibility of conducting a thorough and
reasonable investigation of Plaintist claim, including the discovery ofcovered damages and fully
quantifying covered damages to Plaintiff`s Property.

40. l\/lr. Keith l~larris conducted a substandard, results-oriented inspection of the

Property,

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41 . As such, l\/lr. Keith Harris failed to discover covered damages and/or fully quantify
covered damages to Plaintiff Property, as the Policy and Texas law require.

42. Further_, l\/Ir. Keith Harris misrepresented material facts to Plaintiff and Mr.
Gonzalez, that is, the existence and true value ofPlaintif‘f’s covered losses. Additionally, l\/lr. Keith
Harris failed to provide Plaintiffwith a reasonable explanation as to why l\/Ir. Keith Harris did not
compensate Plaintiff for the covered losses, or the true value thereof.

43. Thus, l\/Ir. Keith Harris engaged in unfair settlement practices by: misrepresenting
to Plaintiff a material fact or policy provision relating to the coverage at issue; failing to attempt
in good faith to effectuate a promptq fair, and equitable settlement of a claim after Sentinel
lnsurance Company, btd’s liability became reasonably clear; failing to promptly provide Plaintiff
with a reasonable explanation of the basis in the Policy in relation to the facts or applicable law
for its adjuster’s denial ofthe claim or offer ofa compromise settlement ofthe claim; and/or failing
to conduct a reasonable investigation of Plaintiff claim. Each of the aforementioned unfair
settlement practices was committed knowingly by l\/lr. Keith Harris and was a and was approved
and conducted at the direction of Defendant Sentinel insurance Company, Ltd, and were the
producing cause of Plaintiffs damages Mr. Keith Harris is therefore liable to Plaintiff for
engaging in such unfair settlement practices and causing Plaintiff`s damages
IV. DTPA VIOLATIONS

44. Each of the foregoing paragraphs is incorporated by reference here fully.

45. At all material times herein, Plaintiff was a “consumer” who purchased insurance
products and services from Defendant, and the products and services form the basis ofthis action.

46. Defendant Sentinel lnsurance Company, Ltd has violated the Texas Deceptive

Trade Practices Consumer Protection Act (“DTPA”) in at least the following respects:

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47. Defendant Sentinel lnsurance Company, Ltd represented that the Policy confers or
involves rights, remedies, or obligations which it does not have, or involve, or which are prohibited
by law; Defendant Sentinel lnsurance Company, Ltd represented goods, products, or services had
sponsorship, approval, characteristics, uses, benefits or quantities they do not have; Defendant
Sentinel lnsurance Company, Ltd failed to disclose information concerning goods or services
which was known at the time ofthe transaction when such failure to disclose such information was
intended to induce Plaintiff into a transaction Plaintiff would not have entered into had the
information been disclosed; Defendant Sentinel lnsurance Company, Ltd, by accepting insurance
premiums but refusing without a reasonable basis to pay benefits due and owing engaged in an
unconscionable action or course of action as prohibited by the DTPA § l7.50(a)(l)(3) in that
Defendant Sentinel lnsurance Company, Ltd took advantage of Plaintiff lack of knowledge,
ability, experience, and capacity to a grossly unfair degree that also resulted in a gross disparity
between the consideration paid in the transaction and the value received, in violation of Chapter
541 ofthe lnsurance Code; generally engaging in unconscionable courses ofaction while handling
Plaintiff` claim; and/or violating the provisions ofthe Texas insurance Code, as further described
elsewhere herein.

48. As a result of Defendant Sentinel lnsurance Company, Ltd’s violations of the
DTPA, Plaintiff suffered actual damages, and such violations were a producing, actual, and
proximate cause of Plaintiff damagesl Therefore, Defendant Sentinel lnsurance Company, Ltd is
liable to Plaintiff for violations ofthe DTPA.

49. Further_, Defendant Sentinel lnsurance Company, Ltd knowingly and/or
intentionally committed the acts complained of herein. As such, Plaintiffis entitled to exemplary

and/or treble damages pursuant to the DTPA and Texas lnsurance Code § 541.]52(a)-(b).

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V. BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING
50. Defendant Sentinel lnsurance Company1 btd breached the common law duty of
good faith and fair dealing owed to Plaintiff by denying or delaying payment on the claim when
Sentinel lnsurance Company! Ltd knew or should have known liability was reasonably clear.
Sentinel insurance Company, Lstd’s conduct proximately caused Plaintiff`s damages

51. Defendant Sentinel lnsurance Company, Ltd is therefore liable to Plaintiff.

VI. ATTORNEY’S FEES

52. Plaintiff engaged the undersigned attorney to prosecute this lawsuit against
Defendant and agreed to pay reasonable attorney’s fees and expenses through trial and any appeal.

53. Plaintiff is entitled to recover reasonable and necessary attorney’s fees pursuant to
Tex. Civ. Prac. & Rem. Code §§ 38.001-38.003 because Plaintiff is represented by an attorney,
presented the claim to Defendant, and Defendant did not tender thejust amount owed before the
expiration ofthe 30th day after the claim was presented

54. Plaintiffis additionally or alternatively entitled to recover reasonable and necessary
attorney’s fees pursuant to Tex. Bus. & Com. Code § 1'/'.50(d).

55. Plaintiffis additionally or alternatively entitled to recover reasonable and necessary
attorney`s fees pursuant to sections 541 .152 and 542.060 ofthe Texas lnsurance Code.

l. KNOWLEDGE

56. Each of the acts described above, together and singularly, was done “knowingly,”
as that term is used in the Texas lnsurance Code, and was a producing cause of Plaintiffs’ damages
described herein.

J. DAMAGES

57. Plaintiffs would show that all of the aforementioned acts, taken together or

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singularly, constitute the producing causes ofthe damages sustained by Plaintiffs.

58. Due to the mishandling of Plaintiff"s claim by Defendant, the damages caused by
the 2017 storm have not been fully addressed or repaired in the months since the storm` causing
further damages to the Property, and causing undue hardship and burden to Plaintiff. These
damages are a direct result of Defendant`s mishandling of Plaintiffclaim in violation ofthe laws
set forth above.

59. For breach ofcontract, Plaintiffis entitled to regain the benefit ofthe bargain, which
is the amount ofthe claim, together with attorney’s fees

60. For noncompliance with the Texas insurance Code, Unfair Settlement Practices,
Plaintiff is entitled to actual damages which include the loss ofthe benefits that should have been
paid pursuant to the Policy, mental anguishq court costs, and attorney’s fees For knowing conduct
ofthe acts described above, Plaintiff asks for three times the actual damages TEX. INS. CODE §
541.152.

61. For noncompliance with the fean insurance Code, Prompt Payment of Claims,
Plaintiff is entitled to the amount ofthe claim, as well as eighteen (18) percent interest per annum
on the amount of such claim as damages, together with attorney’s fees. TEX. lNS. CODE §
542.060.

62. For breach of the common law duty of good faith and fair dealing, Plaintiff is
entitled to compensatory damages, including all forms of loss resulting from the insurer’s breach
ofduty. such as additional costs, economic hardship, losses due to nonpayment ofthe amount the
insurer owed, exemplary damages and damages for emotional distress

63. For fraud, Plaintiff is entitled to recover actual damages as well as exemplary

damages for knowingly fraudulent and malicious representations along with attorney’s fees__

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interest. and court costs

64. For the prosecution and collection ofthis claim, Plaintiffwas compelled to engage
the services of the attorney whose name is subscribed to this pleading Therefore, Plaintiff is
entitled to recover a sum for the reasonable and necessary services of Plaintiff attorney in the
preparation and trial of this action.

K. STATEMENT ()F RELIEF AND DAMAGES

65. As required by Rule 47(b), Texas Rules ofCivil Procedure, Plaintiffcounsel states
that the damages sought are in an amount within thejurisdictional limits ofthis Court. As required
by Rule 47(0), Texas Rules of Civil f’rocedure1 Plaintiff’s counsel states that Plaintiff is seeking
monetary relief over $200,000 but not more than $1,00(),000. A jury, however, will ultimately
determine the amount of monetary relief actually awarded. Plaintiff also seeks pre-judgment and
post-judgment interest at the highest legal rate.

L. RESERVATION OF RIGHTS

66. Plaintiff reserves the right to prove the amount of damages at trial. Plaintiffreserves
the right to amend this petition to add additional counts upon further discovery and as the
investigation continues

M. JURY DEMAN])

67. Plaintiff hereby request that all causes ofaction alleged herein be tried before ajury
consisting of citizens residing in Webb County, Texas. Plaintiff hereby tenders the appropriate
jury fee.

PRAYER
WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof, said

Plaintiff has and recover such sum as would reasonably and justly compensate Plaintiff in

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accordance with the rules of law and procedure, as to actual damages, trebled, under the Texas

lnsurance Code and Texas Deceptive Trade Practiees Consumer Protection Act, and all punitive

and exemplary damages as may be found. ln addition, Plaintiff requests the award of attorney’s

fees for the trial and any appeal ofthis case, for all court costs on Plaintiff’s behalf expended, for

pre-judgment and post-judgment interest as allowed by law, and for any other and further relief,

either at law or in equity, to which Plaintiff is justly entitled.

Respectfully submitted,

ZAR LAW FIRM

/s/Matrhew M. Zarghoum`
Matthew Zarghouni

State Bar No. 24086085

7322 Southwest Fwy, Suite 1965
Houston, Texas 77074

Office: (713) 333-5533

Fax: (832) 448-9149
l\/latt@zar-law.com

ATTORNEY FOR PLAINTIFFS

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CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy ofthe foregoing instrument was served on all
counsel of record on the October 12, 2017, pursuant to the Texas Rules ofCivil Procedure:

Vla E-Servr`ce

l\/lartin R. Sadler
msadler@lawla.com
Rebecca A. Moore
rmoore@lawla.com

801 Travis Street, Suite 1800
Houston, Texas 77002

/s/Matrhew Zcri"ghotmf
Matthew Zarghouni

 

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CIVIL PROCESS REQUEST FORM 1902/2017 4115 PN|
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IX] CIVlL PROCESS SERVER - Authorized Person to Piek-up: Santiago Legal Servicing Phone: l972) 497-2122
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AT'I`ORNEY (OR ATTORNEY'S AGENT) REQUEST]NG SERV|CE:

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Case 5:17-cV-00229 Document 1-3 Filed in TXSD on 10/27/17 Page 63 of 68

 

Sl_".RVlCE REQUESTS Wl-llCl'I CANNOT BE PROCESSED BY Tl-llS OFFlCE WlLL BE HELD FOR 30 DAYS PRIOR TO
CAN CELLATION. FEES WILL BE REFUNDED ONLY UPON REQUEST, OR AT 'l`l~lE DlSPOSl'l`lON OF THE CASE.

SERVICE REQUESTS MAY BE RElNSTATED UPON APPROPR[ATE ACTION BY THE PARTIES.

 

lNS'fRUl\/lENTS TO BE SERVED: PROCESS TYPES:
(Fi|| ln instrument Sequence Number. i.e. lst. 2nd. etc.]
NON WRlT:
___ M ORlGlN/\L PETITION CITA'l`lON
X AMENDED PETl'flON ALIAS CiTATlON
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SECRETARY OF STATE CITATION
COMM]SSIONER OF lNSURANCE

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SHORT FORM NOTICE
CROSS-AC'|`ION'.

AMENDED CROSS~ACTlON PRECEPT (SHOW CAUSE)

SUPPI,.EMEN']`AL CROSS-ACTION RULE 106 SERVICE
'l`l*llRD-PARTY PETl'l`lOi\l: SUBPOENA

AMENDED THIRD-PARTY PETlTlON
_____ SUPPLEMENTAL Tl-llRD-PARTY PETlTiON WRITS:

ATTACHl\/[ENT {PROPERTY)
li\i'l`E-§RVF,NTlON: ATACHMENT (WITNESS}
_ AMl;iNDED lN'l`ERVENTlOl\l AT'l`ACHMEl\lT (PERSON)

45 SUPPLEMENTAL lNTER`\/ENTION

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EXECUTION AND ORDER OF SALE

GARNlSl-lMENT BEFORE jUDGMENT

lN.lUNC'l`lON GARNISHMENT AFTER JUDGMENT
M()TION 'l`O l\/lODlFY HABEAS CORPUS
Sl-lOW CAUSE ORDER INJUNCTION

TEMPORARY RES'l`RAll\lll\lG ORDER TEMPORARY RESTRAIN[NG ORDER

PROTECTlVE OR_DER (FAMILY CODE)
PROTECTIVE ORDER (ClVlL CODE)

BILL. OF DISCOVL"RY:

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Case 5:17-cV-00229 Document1-3 Filed in TXSD on 10/27/17

ZAR LAW FIRM

PR(}|"I;`.S§|Gl\`.-\l, l.l\'il'l`lll) I.EAISFLST‘I' COMl’r\NY

 

7322 SoL"i‘i-i\vns'i‘ F\sn-’, Stii'rn 1965
I--lotis‘i‘oi\’, Tnxi\s 77074
\s'\\;'\s'.x.-tn-t.,-\\t-'.Corvi
P: (?13) 333-5533
F: (832) 448-9149

10/11/2017

Maitin Sadlei

Lttoaisurirri_i, WVHt';r\'l`ox, Pi-jC'K, RANi<tiv .~\ND HUBB,\RD,
A LAW ConPoRATioN

801 Ti'avis Street, Suite 1800

l~louston. 'l`exas 77002

msadler@lawla.com

Re: Cause No. 2017CVH002094D1; Moi‘.s'es Gonz.qlez v_

Page 64 of 68

Filed

10!12/20i7 4:15 Pl\il
Esther Dego||ado
District Clerk

Webb District
lVlaryel Gatza
2017CVH00209401

Sentinel lnsurance

Company, Lm'. and John Doe; in the 491h J`udicial District of Webb County,

Texas

l`)ear i\/lr. Sadler.

This letter is to confirm oui' agreement wherein Sentinel lnsurance Company

, Ltd. (“Sentinel")

agreed to allow Mr. lvloises Gonzalez (“Plaiiitiff’) to withdraw his "Stipulated Damages" included in
Plaiiitifl`s Original Petition, wherein it was stipulated that Mr. Moises Gonzalez shall not accept any

judge-merit in excess of $75,000, exclusive ofinterest and costs

Additiona|ly, Sentinel will not seek to enforce the withdrawn “Stipuiated Darnages,” Plainti ff
will tile an amended peti'tion, and Plaintiff will not oppose Sentinel's removal of the above-numbered
and styled cause to federal court. Please place your signature where indicated below and send a copy
back to my office ifyou are in agreement Please be advised that this correspondence will be filed as a

Rule l l Agreeine-nt. "l`hank you for your consideration iri this matter.
Sineerely,

/s/Marr/rew Zarglrortn{'
Matthew Zarghouni
Counscl for Plaintiff

marino M

 

i\/lartin Sadl er- Counse| for Sentinel

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RETURN
2017CVH002094D1
CITATION

THE STATE OF TEXAS
COUNTY OF WEBB

NOTICE TO THE DEFENDANT: “YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
ATTORNEY. IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER
WITH THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE
MONDAY NEXT FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU
WERE SERVED THIS CITATION AND PETITION, A DEFAULT JUDGMENT MAY
BE TAKEN AGAINST YOU."

TO: SENTINEL INSURANCE COMPANY LTD
Attn BY SERVING CT CORPORATION SYSTEM
1999 BRYAN STREET STE 900
DALLAS TX 75201

DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
HEREBY COMMANDED TO APPEAR BEFORE THE égth District Court Of Webb
County, Texas, to be held at the said courthouse of said county in the
city of Laredo, Webb County, Texas, by filing a written answer to the
Plaintiff's First Amended Petition and Jury Demand at or before 10:00
O’CLOCK A.M. of the Monday next after the expiration of 20 days after
the date of service thereof, a copy of which accompanies this
citation, in the Cause #: 2017CVH002094D1, styled:
MOISES GONZALEZ, PLAINTIFF
VS.

SENTINEL INSURANCE COMPANY LTD; JOHN DOE, DEFENDANT(S)
Said Plaintiff's First Amended Petition and Jury Demand was
filed on 10/12/2017 in said court by:

MATTHEW ZARGHOUNI, ATTORNEY FOR PLAINTIFF

7322 SOUTHWEST FWYSTE 1965

HOUSTON TX 77074

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS,
Issued and given under my hand and seal of said court at office,
on this the 13th day of October, 2017.

C L E R K 0 F C 0 U R T

, ESTHER DncoLLADo

-z¢1\ wasn coUNTY DISTRICT cLERK
" P. o. sex 667

LAREDO Tx 73042

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*-~ee ' jCase- 5-: 17=ev;602-29-BoeumenH-As_FHede€SBen-ie/2¥HV_Page66ee68__i

 

 

2017CVH002094D1

OFFICER'S RETURN
Came to hand on the day of , 2017 at
O'CLOCK .M. Executed at

 

1|

 

at O’CLOCK
, 2017, by

.M. on the

within the COUNTY of
day of

delivering to the within named

SENTINEL INSURANCE COMPANY LTD, EaCh,

in person,

a true copy of

 

 

 

this citation together with the accompanying copy of the
petition, having first attached such copy Of such petition to
such copy of citation and endorsed on such copy of citation the
date of delivery.

The distance actually travelled by me in serving such process
was miles, and my fees are as follows:

Total Fee for serving this citation $

To certify whichr Witness my hand officially.

 

sHERIFF, coNsTAsLs
coUNTY, TExAs

BY

 

DEPUTY

THE STATE OF TEXAS }
COUNTY OF WEBB }

Before me, the undersigned authorityr on this day personally

appeared , who after being duly
sworn, upon oath said that a notice, Of which the above is a

true copy, was by him/her delivered to

 

on the
day of ,

 

 

SWORN TO AND SUBSCRIBED BEFORE ME on the day Of
to certify which witness my hand and

f !

seal cf office.

 

NOTARY PUBLIC
MY COMMISSION EXPIRES

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SERVE
2017CVH002094D1
CITATION

THE STATE OF TEXAS
COUNTY OF WEBB

NOTICE TO THE DEFENDANT: “YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
ATTORNEY. IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER

WITH THE CLERK§ WHO ISSUED THIS CITATION` BY lO:OO A.M. ON 'THE
MONDAY NEXT FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU
WERE SERVED THIS CITATION AND PETITION, A DEFAULT JUDGMENT MAY
BE TAKEN AGAINST YOU."

TO: SENTINEL INSURANCE COMPANY LTD
Attn BY SERVING CT CORPORATION SYSTEM
1999 BRYAN STREET STE 900
DALLAS TX 75201

DEFENDANT, IN THE HEREINAFTER STYLED AND NUMEERED CAUSE, YOU ARE
HEREBY COMMANDED TO APPEAR BEFORE THE 49th District Court Of Webb
County, Texas, to be held at the said courthouse of said county in the
city of Laredo, Webb County, Texas, by filing a written answer to the
Plaintiff's First Amended Petition and Jury Demand at or before 10:00
O'CLOCK A.M. of the Monday next after the expiration of 20 days after
the date of service thereof, a copy of which accompanies this
citationr in the Cause #: 2017CVH002094D1, styled:
MOISES GONZALEZ, PLAINTIFF
VS.

SENTINEL INSURANCE COMPANY LTD; JOHN DOE, DEFENDANT(S)
Said Plaintiff’s First Amended Petition and Jury Demand was
filed on 10/12/2017 in said court by:

MATTHEW ZARGHOUNI, ATTORNEY FOR PLAINTIFF

7322 SOUTHWEST FWYSTE 1965

HOUSTON TX 77074

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS,
Issued and given under my hand and seal of said court at office,
on this the 13th day of October, 2017.

C L E R K 0 F C O U R T

ESTHER DEGOLLADO

WEBB COUNTY DISTRICT CLERK
P.O. BOX 667

LAREDO, TX 78042

, l f Y`;/Y\/\ ()M l/M Q@:(.j(?\ DEPUTY

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2017CVH002094D1
OFFICER'S RETURN
Came to hand on the day of , 2017 at
O'CLOCK .M. EXeCuted at
, within the COUNTY of
at O’CLOCK .M on the day of

, 2017, by delivering to the within named
SENTINEL INSURANCE COMPANY LTD, each, in person, a true copy of
this citation together with the accompanying copy of the
petition, having first attached such copy of such petition to
such copy of citation and endorsed on such copy of citation the
date of delivery.

The distance actually travelled by me in serving such process
was milesr and my fees are as follows:

Total Fee for serving this citation $

To certify whichr witness my hand officially.

 

SHERIFF, CONSTABLE

COUNTY, TEXAS

BY

 

DEPUTY

THE sTA'rs or TEXAS }
coUNTY oF mass }

Before me, the undersigned authority, on this day personally
appeared , who after being duly
sworn, upon oath said that a notice, of which the above is a
true Copy, was by him/her delivered to
on the
day of ,

 

 

SWORN TO AND SUBSCRIBED BEFORE ME OH the day Of
, , to certify which witness my hand and
seal of office.

 

 

NOTARY PUBLIC
MY COMMISSION EXPIRES

 

 

 

 

 

 

